Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 1 of 96. PageID #: 88083




                      Exhibit 14
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 2 of 96. PageID #: 88084




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION




IN RE NATIONAL PRESCRIPTION
LITIGATION

County of Summit, Ohio, et al.


v.


Purdue Pharma L.P., et al.
                                              CASE NO. 1:17-MD-2804

                                              JUDGE DAN AARON POLSTER
The County of Cuyahoga
                                              TRACK ONE CASES

v.                                            EXPERT REPORT OF JONATHAN R. MACEY


Purdue Pharma L.P., et al.




                                       1
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 3 of 96. PageID #: 88085




                EXPERT REPORT OF PROFESSOR JONATHAN R. MACEY




                                      2
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 4 of 96. PageID #: 88086




                EXPERT REPORT OF PROFESSOR JONATHAN R. MACEY
      I.      Introduction

   1. At the request of counsel for Allergan plc f/k/a Actavis PLC; Allergan Finance, LLC,

f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.; Allergan Sales, LLC and Allergan USA,

Inc., in the captioned litigation or related cases, I respectfully submit this Expert Report

reflecting my opinions regarding corporate governance and corporate control related to the

issues before the court.

   2. I am an expert in corporate governance and corporate control, particularly with respect to

the ordinary and customary interactions between and among investors, parent companies and

their affiliates and subsidiaries. I also am an expert in the economic (efficiency) implications of

corporate control and limited liability.

   3. Information on my background and qualifications is provided in Exhibit 1 of this Report.

Briefly, I am the Sam Harris Professor of Corporate Law, Corporate Finance, and Securities

Law at Yale Law School, and Professor in the Yale School of Management. I am also a

member of the Provost’s Standing Advisory & Appointments Committee for the Yale School of

Management, and Chair of the Yale University Advisory Committee on Investor Responsibility

(ACIR).

   4. I have more than 30 years of experience in the area of corporate governance and in the

relationships between parents and subsidiaries and among multiple subsidiaries of a single

parent corporation. My expertise includes knowledge of the ordinary and customary business

practices between and among parents and subsidiaries and expertise in the policies underlying

the legal concept of piercing the corporate veil.




                                                    3
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 5 of 96. PageID #: 88087




       5. I am being compensated at a rate of $1250.00 per hour for my time and reimbursed for

    my out-of-pocket expenses in connection with my review of the record, preparation of this

    Report, and provision of testimony. My compensation is not dependent on the content of my

    Report or testimony or the outcome of litigation. My prior testimony over the past four years is

    provided in Exhibit 2. The documents I have reviewed in connection with this Report are listed

    in Exhibit 3.

       6. I reserve the right to modify or supplement the opinions expressed in this Report for

    reasons including review of new evidence, in response to opinions or argument by Plaintiffs or

    any expert that Plaintiff may retain, and in response to any ruling by the Court.

       7. In the process of preparing this Report, I have examined the relationships among the

    following named defendants, and between these defendants and their affiliates and subsidiaries

    from a corporate governance perspective, to determine if the interactions between and among

    these entities was normal or aberrational: 1

          a) Allergan plc (f/k/a Actavis plc). Defendant Allergan plc (f/k/a Actavis plc) is a
             public limited company incorporated in Ireland with its principal place of business in
             Dublin, Ireland.

          b) Allergan Finance, LLC (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.).
             Defendant Allergan Finance, LLC (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals,
             Inc.) is a limited liability company (LLC) formed in Nevada and headquartered in
             Madison, New Jersey.




1
  Consistent with ordinary and customary usage in the field of corporate governance, the word “affiliate” is used to
refer to a person or company that controls, is controlled by, or is under common control with, another company.
Further, the word “control” means to control directly or indirectly or to exert a controlling influence over a person or
company including the possession, directly or indirectly, of the power to direct or to cause the direction of the
management and policies of such person or company, whether through the ownership of voting securities, by
contract or otherwise. As such, consistent with ordinary and customary usage, the term control is defined broadly to
define typical investment relationships such as the relationship between parent companies and majority shareholders
and their subsidiaries and affiliates even though such relationships do not create agency relationships or otherwise
give rise to liability of the controlling person or company for tort or contractual liabilities of the controlled person or
entity under theories of enterprise liability including doctrines related to piercing the corporate veil.
                                                            4
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 6 of 96. PageID #: 88088




          c) Allergan Sales, LLC. Defendant Allergan Sales, LLC was formed in Delaware and is
             headquartered in Irvine, California.

          d) Allergan USA, Inc. Defendant Allergan USA, Inc. is incorporated in Delaware and
             headquartered in Irvine, California.

       8. In this Report, I use the term “Allergan Entities” to describe the entities described in the

    previous paragraph Allergan plc (f/k/a Actavis plc), Allergan Finance, LLC, (f/k/a Actavis, Inc.,

    f/k/a Watson Pharmaceuticals, Inc.), Allergan Sales, LLC, and Allergan USA, Inc., along with

    any other affiliate of these named defendants that the Plaintiffs allege to have acted improperly

    from a corporate governance perspective or to have improperly controlled entities sold to

    Buyer 2 in 2016 pursuant to the Master Purchase Agreement dated as of July 26, 2015 between

    Allergan plc and Teva Pharmaceutical Industries Ltd. (defined as “Buyer Parent” in the MPA).

    My opinions in this matter relate to the relationships among and between the Allergan Entities

    and various affiliated corporate entities that were acquired by Buyer as part of Allergan plc’s

    general divestiture of its generic drug business in 2016. In this Report I use the term “Divested

    Entities” to describe the entities that were transferred to Buyer in 2016 and named as defendants

    in the Third Amended Complaint.

       9. The following are the Divested Entities that are named as defendants in the Third

    Amended Complaint and sold to Buyer via the Master Purchase Agreement:




2
  I adopt the definition of “Buyer” in Section 1.1 of the Master Purchase Agreement, which is “Buyer Parent or any
Affiliate or Subsidiary of Buyer Parent that Buyer Parent designates to purchase any of the Acquired Assets and/or
are a party to any Ancillary Agreement.” As the definition suggests, under the terms of the Master Purchase
Agreement, Teva Pharmaceuticals Industries Ltd. had the right to designate one or more of its affiliates or
subsidiaries to acquire any of the Acquired Assets, including the right to designate one or more subsidiary to acquire
the stock of the Divested Entities. I understand each of the Divested Entities that is named as a defendant in the
Third Amended Complaint continues to be a separate corporate subsidiary within the Teva corporate structure.
Actavis LLC, for example, remains a subsidiary of Watson Laboratories, Inc., which is now a subsidiary of Actavis
Holdco US, Inc. Actavis Holdco, Inc. is a subsidiary of Teva Pharmaceuticals USA Inc., which is itself an indirect
wholly-owned subsidiary of Teva Pharmaceuticals Industries Lt., the Israeli-based corporate parent. See
Teva_MDL_JD_000059.
                                                          5
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 7 of 96. PageID #: 88089




        •    Defendant Warner Chilcott Company, LLC is a limited liability company formed in
             Puerto Rico. Plaintiffs allege that since 2015, Warner Chilcott Company, LLC has
             been the manufacturer of Norco. Warner Chilcott Company, LLC was a subsidiary of
             Warner Chilcott plc until Warner Chilcott plc became a wholly owned subsidiary of
             Allergan plc in 2013. From its formation on February 25, 2004 until April 13, 2009,
             Warner Chilcott Company LLC was organized as a corporation known and operated
             under the name “Warner Chilcott Company, Inc.” On April 13, 2009 Warner Chilcott
             Company, Inc. converted from the corporate form into a limited liability company
             that operated under the name “Warner Chilcott Company, LLC”. 3

        •    Defendant Actavis Pharma, Inc. (f/k/a Watson Pharma, Inc.), is a Delaware
             corporation. Plaintiffs allege that Actavis Pharma, Inc. (f/k/a Watson Pharma, Inc.)
             was previously responsible for sales of Kadian and Norco.

        •    Defendant Watson Laboratories, Inc. is a Nevada corporation with its principal place
             of business in Corona, California. According to the Plaintiffs’ Third Amended
             Complaint, between 2000 and 2015, Watson Laboratories, Inc. held the Abbreviated
             New Drug Applications (ANDA) for Norco and was the manufacturer of that
             medication. Watson Laboratories, Inc. was also the ANDA holder of various generic
             opioids. 4

        •    Defendant Actavis LLC is a Delaware limited liability company and an indirect
             subsidiary of Watson Laboratories, Inc. The following direct subsidiaries of
             defendant Actavis LLC also are named as defendants in the Third Amended
             Complaint and were also sold to Buyer pursuant to the Master Purchase Agreement in
             2016:

                 o Defendant Actavis South Atlantic LLC, is a Delaware limited liability
                   company with its principal place of business in Sunrise, Florida. According to
                   the Third Amended Complaint, Actavis South Atlantic LLC was listed as the
                   ANDA holder for oxymorphone and fentanyl transdermal.

                 o Defendant Actavis Elizabeth LLC is a Delaware limited liability company
                   with its principal place of business in Elizabeth, New Jersey. According to
                   Plaintiffs’ Third Amended Complaint, from December 19, 2005, until it
                   purchased the medication in December 2008, Actavis Elizabeth LLC served
                   as the contract manufacturer of Kadian for Alpharma. Plaintiffs also alleged


3
  Certification of Kenneth D. McClintock, Secretary of State of the Commonwealth of Puerto Rico, certifying that
“on April 13, 2009 at 4:13 pm, was filed a Certificate of Conversion of “Warner Chilcott Company, Inc.”, file
142,169, to a Limited Liability Company, organized under the laws of Puerto Rico, under the name of “Warner
Chilcott Company, LLC”, file number 1,544 – LLC. The effective date of the conversion was April 13, 2009.” See
also Certificado de Conversión a Una Companía de Responsibilidad Limitada, (Certificate of Conversion of a
Limited Liability Company,” Registration No. 142169) (ALLERGAN_MDL_04449405).
4
  ANDA is the acronym for Abbreviated New Drug Application. Abbreviated New Drug Application,”
https://www.fda.gov/drugs/types-applications/abbreviated-new-drug-application-anda (accessed May 6, 2019).
                                                       6
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 8 of 96. PageID #: 88090




                   in the Third Amended Complaint that Actavis Elizabeth LLC held the ANDA
                   for Kadian from 2008 to 2013, and that Actavis Elizabeth LLC was also the
                   holder of ANDAs for the following Schedule II opioid products:
                   oxycodone/acetaminophen; homatropine methylbromide/hydrocodone
                   bitartrate; morphine sulfate capsule; morphine sulfate tablet;
                   oxycodone/hydrochloride tablet; oxycodone/ibuprofen; and oxymorphone
                   tablet.

               o Defendant Actavis Kadian LLC is a Delaware limited liability company.
                 Plaintiffs allege in the Third Amended Complaint that Actavis Kadian LLC
                 has been identified on Kadian’s label as a manufacturer or distributor of
                 Kadian.

               o Defendant Actavis Mid Atlantic LLC is a Delaware limited liability company
                 with its principal place of business in Parsippany, New Jersey. Plaintiffs
                 allege in the Third Amended Complaint that Actavis Mid Atlantic LLC has
                 held the ANDA for homatropine methylbromide/hydrocodone bitartrate.

               o Defendant Actavis Totowa LLC is a Delaware limited liability company with
                 its principal place of business in Parsippany, New Jersey. Plaintiffs allege in
                 the Third Amended Complaint that Actavis Totowa LLC has held the ANDAs
                 for the following Schedule II opioid products: oxycodone/acetaminophen;
                 homatropine methylbromide; oxycodone/hydrochloride.

               o Defendant Actavis Laboratories UT, Inc. (f/k/a Watson Laboratories, Inc.-Salt
                 Lake City), is a Delaware limited liability company with its principal place of
                 business in Salt Lake City, Utah. Plaintiffs allege in the Third Amended
                 Complaint that Actavis Laboratories UT, Inc. was the Kadian ANDA holder
                 from 2013 to 2016 and was listed as the NDA holder for morphine sulfate
                 capsule.

and

        •   Defendant Actavis Laboratories FL, Inc. (f/k/a Watson Laboratories, Inc.-Florida) is a
            Florida limited liability company with its principal place of business in Davie,
            Florida. Plaintiffs allege in the Third Amended Complaint that Actavis Laboratories
            FL, Inc. was a Norco ANDA holder in 2015 and was the ANDA holder of the
            following Schedule II opioid products: hydrocodone/acetaminophen;
            hydrocodone/ibuprofen; oxycodone/aspirin; and hydromorphone tablet. Actavis
            Laboratories FL, Inc. was a direct subsidiary of Andrx Corporation, which is not
            named as a defendant. Andrx also was transferred to Buyer as part of the 2016 sale.


      10.      In this Report I analyze the following: (1) the corporate governance and

corporate control relationships among the entities listed above prior to the 2016 transaction with
                                                7
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 9 of 96. PageID #: 88091




    Buyer; (2) the corporate governance and corporate control implications of the 2016 transaction

    with Buyer; (3) the corporate governance and corporate control implications of the operating

    environment of the Allergan Entities in the period following the transaction with Buyer.

       11.        I note at the outset that the allegations in the Complaint in this case are unusual

    from a corporate governance perspective to the extent Plaintiffs intend to argue that veil

    piercing would be appropriate. Specifically, it is noteworthy that the Plaintiffs’ 334-page Third

    Amended Complaint does not contain a single factual allegation that provides any basis or any

    rationale from a general policy or economic perspective for the claim that the corporate veil of

    any of the Divested Entities should be pierced at any time, before, during or after their 2016

    transfer to Buyer. From a corporate governance perspective, so-called veil piercing claims,

    which are assertions that the separate legal status of a corporation or LLC should be

    disregarded, typically are supported by specific allegations or examples of the improper use of

    control or voting power, undercapitalization of the subsidiary or affiliate, failure to observe

    corporate formalities, failure to maintain proper books and records, failure to pay incorporation

    or franchise taxes, and/or failure to maintain the separate corporate identities of the companies,

    or any other. 5 Such allegations or examples would provide support for the assertion that a

    subsidiary or other corporate affiliate is a mere instrumentality of the parent corporation. From

    a policy perspective, it generally is believed that piercing the corporate veil requires a

    demonstration that the entity whose corporate separateness is being attacked was organized or

    used by its parent to mislead creditors or to perpetrate a fraud on such creditors. Here, there are

    no allegations of improper formation or utilization of the corporate form in this case.



5
 Jonathan Macey and Joshua Mitts, Finding Order in the Morass: The Three Real Justifications for Piercing the
Corporate Veil, 100 CORNELL L. REV. 99 (2014), available at:
https://scholarship.law.cornell.edu/clr/vol100/iss1/2 (accessed May 10, 2019)
                                                       8
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 10 of 96. PageID #: 88092




          II.     Summary of Opinions

       12.        By way of summary, the opinions expressed in this Report all are based on a

    single, consistent premise, which is the fundamental concept that “the entire point of the

    incorporation process is to permit the creation of a legal entity that is not an association of

    individuals, but rather a discrete legal entity whose rights and obligations are distinct from those

    of it its creators, investors, managers, and other constituents.” 6 The point of incorporating a

    business or forming a limited liability company7 is to create an entity that can sue and be sued,

    enter into legally binding contracts, and hold assets and incur liabilities in its own name separate

    and distinct from their investor/shareholders. As I have observed in previous academic writing:

                  The doctrine of piercing the corporate veil presupposes that a
                  corporation is a “juridical entity with the characteristic of legal
                  ‘personhood.’” The legal recognition that corporations are distinct
                  legal entities that are not associations of shareholders is reflected in
                  the fact that courts recognize that it is legitimate to create a
                  corporation or other form of limited liability business organization
                  such as a limited liability company “for the very purpose of
                  escaping personal liability” for the debts incurred by the enterprise.
                  And it is precisely because corporations have legal status as
                  juridical entities with the characteristic of legal personhood that
                  courts’ equitable authority to pierce the corporate veil is to be
                  exercised “reluctantly” and “cautiously.” 8




6
  Jonathan Macey and Leo E. Strine, Jr., Citizens United as Bad Corporate Law, 2019 WISCONSIN L. REV.
(forthcoming 2019), available as U of Penn, Inst for Law & Econ Research Paper No. 18-28; Harvard Law School,
John M. Olin Institute for Law, Economics, and Business Discussion Paper No. 972, and Yale Law & Economics
Research Paper No. 598.
7
  A limited liability company (LLC) is a corporate structure specifically allowed under U.S. law in which the
investor/owners (who are known as members) are not liable for the LLC's debts or liabilities either personally
(where the investors are individuals) or in their own corporate capacity (where the investors are themselves LLCs or
corporations). LLCs are considered “hybrid” because they combine the limited liability feature of the corporate form
and the flow-through tax treatment of the partnership form. See id. While the limited liability feature is similar to
that of a corporation, the availability of flow-through taxation to the members of an LLC is a feature of partnerships.
8
  Macey and Stine, Citizens United as Bad Corporate Law, supra.
                                                          9
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 11 of 96. PageID #: 88093




     13.        As reflected in the opinions below, the conceptual fact that a corporation is a legal

 entity separate and apart from its shareholders has implications for the issues in this case, which

 involve the liability implications resulting from stock sales and asset purchases.

     14.        With regard to stock sales, which is what occurred when Allergan plc sold shares

 in the Divested Entities to Buyer in 2016, the key point is that shares of stock are financial

 assets that are separate from the corporation. When a stockholder (and this analysis applies

 when the stockholder is itself a corporation) sells the stock that it owns in a corporation, the

 selling shareholder does not lose its status as a shareholder and become liable for the debts of

 the underlying corporation whose shares were sold merely because the shareholder received

 cash or stock or other consideration in exchange for its shares. The sale of shares, including the

 sale of 100% of the shares of the corporate entity does not reduce the value of the assets of the

 corporation whose shares are being sold by the shareholder. The sale by a shareholder of its

 stock in a corporation has no effect whatsoever on the duties and obligations, or on the capacity

 to meet those duties and obligations of the corporation whose shares are sold. The principle that

 shareholders are not liable for corporate debts is a logical implication of two facts, from a

 corporate governance perspective: (1) the corporation is a juridical entity whose assets and

 liabilities are entirely separate from the assets and liabilities of its shareholders; and (2) shares

 of stock in a corporation are financial assets that are not assets or liabilities of the corporation,

 and may be freely transferred by their owners without incurring or creating liability for the debts

 or obligations of the underlying corporation that originally issued the shares.

     15.        The same corporate governance reasoning applies with equal force to transactions

 in which a corporation sells some or all of its assets for cash to another corporation. The selling

 entity and the buying entities are distinct juridical entities. From the point of view of the selling

                                                   10
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 12 of 96. PageID #: 88094




 entity, an arms’-length asset sale involves the fair exchange of one set of assets (i.e., those

 assets being sold) for another set of assets (i.e., the cash, stock or other assets received from the

 buyer in exchange for the assets being sold). Unless expressly agreed otherwise, the buyer of

 the assets does not shoulder responsibility for the debts of the entity that is selling the assets

 because under the principle that the corporation selling the assets is a distinct juridical entity,

 responsibility for debts of the corporation selling the assets remains at all times with the seller,

 which is a distinct juridical entity. Creditors are not harmed or disadvantaged by such asset

 sales (as long as they are arms-length transactions at market value) for the reasons stated above:

 An asset sale involves the exchange of the particular assets being sold for the cash, stock or

 other consideration being received for those assets.

    16.         The selling corporation remains perfectly intact after an asset sale. Before the

 asset sale, the assets being sold were held by the corporate entity that owned them. After the

 asset sale that separate corporate entity is unchanged from the perspective of its liabilities. The

 only change is that the seller of the assets has traded one set of assets (those being sold) for

 another set of assets (the cash or stock or other consideration that comprised the consideration

 used to buy the assets). Unless otherwise agreed, the buyer of the assets is no more responsible

 for the liabilities of the selling entity than it was prior to moment when it purchased those

 assets. Thus, in asset sales, unless the parties expressly agree otherwise, liability for the tort and

 contract obligations of the selling entity remain with the seller, and the entity buying those

 assets does not assume the liabilities of the selling corporation.

    17.         The below summarizes my opinions

    Opinion #1: There are strong and longstanding economic and efficiency justifications for
    the principle of limited liability. Limited liability is the principle that allows shareholders to
    limit the liability associated with their investments in companies to the amount of the capital
    they invest into such companies. These justifications center around the economic insights
                                                  11
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 13 of 96. PageID #: 88095




    that limited liability provides shareholders – including shareholders that are themselves
    corporations – with incentives to make investments in business ventures and that such
    investments are critical to economic growth.

    Opinion #2: The interactions and the degree of “control” among the shareholders, directors
    and corporations involved in this case were within the normal range for closely-held
    companies. They were not excessive or aberrant. All such control was a necessary and
    inevitable consequence of the fact that the Allergan Entities directly or indirectly owned
    100% of the stock of the Divested Entities. Such stock ownership brings with it voting
    control, which simply means that the shareholder is able to elect all of the members of the
    board of directors of the company whose shares are owned. The actual control of the
    company is not vested in the 100% shareholder. Actual control from a corporate
    governance perspective is vested in the board of directors or other appropriate governing
    body of each of the Divested Entities. As a matter of public policy, shareholder liability
    under veil piercing theories should occur if and only if the owner of the control block of
    shares acts in an aberrant or deviant manner. The involvement of the Allergan Entities in
    the operations of the various Divested Entities prior to the 2016 sale of the Divested Entities
    to Buyer was well within the normal range of involvement by parent companies in the
    activities of their subsidiaries and affiliates.

    Opinion #3: The Allergan Entities and the Divested Entities were all substantial companies
    with their own corporate governance infrastructures. They operated in a manner that was
    separate and distinct from the operations of their parent companies and affiliates and had a
    significant amount of independence. There is no indication that these companies were
    undercapitalized. In particular, with regard to any claim that the Divested Entities were alter
    egos, mere shells, insolvent or undercapitalized, I note that if the Divested Entities were
    alter egos, mere shells, insolvent or undercapitalized, then it would have been irrational for
    Teva to have purchased them in 2016 for the substantial price that it paid in an arms-length
    market transaction.

    Opinion #4: The 2016 transactions with Buyer involved the sale of 100% of the stock that
    the Allergan Entities owned in the Divested Entities. These transactions do not indicate that
    the Allergan Entities improperly controlled the Divested Entities. Moreover, because the
    2016 transaction was done at arm’s length between a sophisticated seller and a sophisticated
    buyer, the transactions also provide a further indication that there was complete corporate
    separateness between the Allergan Entities and the Divested Entities whose shares were sold
    to Buyer in 2016.

    Opinion #5: The structure of the 2016 transactions with Buyer show that the 2016 sales
    transactions did not result in any harm or unfairness to tort claimants such as the plaintiffs.

    Opinion #6: After the sale to Buyer by the Allergan Entities of all of their stock in the
    Divested Entities in 2016, the Allergan Entities completely severed their corporate
    governance ties with the Divested Entities. After the sale, the Allergan Entities lacked even
    the capacity to control the Divested Entities. After these transactions, Allergan was a

                                                12
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 14 of 96. PageID #: 88096




     minority shareholder in Teva Pharmaceutical Industries Ltd., 9 because it received Teva
     Pharmaceutical Industries Ltd. shares as part of the consideration for the businesses sold.
     Allergan plc agreed to hold its Teva Pharmaceutical Industries Ltd. shares for a twelve
     month period, 10 and has now sold all of these shares. 11 It would be entirely unprecedented
     and anomalous for the Allergan Entities to be considered responsible for the debts of these
     entities after the 2016 sales because the Allergan Entities no longer even had the capacity to
     control the Divested Entities because they no longer owned a majority or a control block in
     these entities.

     Opinion #7: On December 30, 2008, a former Allergan subsidiary purchased certain assets
     related to the branded oral long-acting opioid analgesic drug Kadian®. 12 The assets
     acquired from King Pharmaceuticals, Inc. consisted of all of the intellectual property and
     regulatory approvals, inventory, books and records, marketing materials and assumed
     contracts that were related to Kadian®. 13 In exchange for these assets a former Allergan
     subsidiary agreed to pay up to $127.5 million in cash based on the achievement of certain
     periodic milestones related to profitability. 14 As a matter of basic corporate governance, for
     very sound reasons of finance and economics, it is well-established that the sale of assets
     from one corporation to another does not result in tort liability for the company that
     purchases the assets for the contract or tort liabilities of the corporation that sells the assets
     absent an explicit agreement to the contrary by the parties. As long as the assets are sold for
     fair value (in this case $127.5 million), the company that incurred the tort liability retains the
     liability associated with those torts. Here, the Asset Purchase Agreement expressly
     documents this point. 15 The tort creditors are protected because there is no dilution in the
     value of the corporate entity that sells the assets. Rather the selling entity simply is
     exchanging one pool of assets (in this case intellectual property and regulatory approvals,
     inventory, books and records, marketing materials and assumed contracts) for another set of
     assets (cash) which are of even more use to tort plaintiffs than the assets sold. Under these
     facts, it would be bad public policy to hold the purchaser of the assets liable for any tort or
     contract liabilities of the seller.



9
  Allergan Press Release, “Allergan plc Completes Divestiture of Global Generics Business to Teva
Pharmaceuticals,” August 2, 2016. (“Allergan received 100.3 million shares of Teva stock valued at $5.4 billion
based on the opening price of $53.39 for Teva Pharmaceutical Industries Ltd. shares on August 2, 2016. These
shares are subject to a twelve month holding period post-close of the transaction.”)
https://www.allergan.com/news/news/thomson-reuters/allergan-plc-completes-divestiture-of-global-gener (accessed
May 9, 2019).
10
   Id.
11
   See Allergan plc / Warner Chilcott Limited 2018 10K (combined Annual Report filed separately by Allergan plc
and its indirect wholly-owned subsidiary, Warner Chilcott Limited), at F-40, https://allergan-web-cdn-
prod.azureedge.net/actavis/actavis/media/allerganinvestors/financial-information/proxy-materials/2018 10-k.pdf,
accessed May 9, 2019.
12
   United States Securities and Exchange Commission Form 8-K for King Pharmaceuticals, Inc. (date of report (date
of earliest event reported): January 5, 2009 (December 29, 2008)).
13
   Id.
14
   Id.
15
   Asset Purchase Agreement Between King Pharmaceuticals, Inc. and Actavis Elizabeth, L.L.C., December 17,
2008 (Allergan_MDL_00378157) (“APA”) §§ 3.01-3.02.
                                                       13
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 15 of 96. PageID #: 88097




        III.     Support for Opinion #1

     18.         The concept of limited liability has been characterized as “the greatest single

 discovery of modem times… . Even steam and electricity are far less important than the limited

 liability corporation, and they would be reduced to comparative unimportance without it.” 16 The

 corporate form permits investors in corporations to manage their risk through the operation of

 what is known as “limited liability.” Limited liability is the concept that the ceiling on

 shareholders’ risk of loss associated with their investments is limited to the amount of those

 investments.

     19.         From an economic perspective, limited liability provides incentives for investors

 to invest in wealth producing businesses that generate growth and employment because they can

 invest without the risk that all of their assets will be exposed to loss for tort or contractual

 liabilities incurred by the corporations in which in their investments have been made.

     20.         The economic justification for limited liability can be more completely described

 as justifying the use of corporate form as a liability shield in order: (a) to encourage investment;

 (b) to promote the economic efficient operation of separately incorporated businesses; and (c) to

 allow investors to form, invest in and manage multiple businesses. These economic

 justifications for the corporate liability shield apply with equal force to all investors, regardless

 of whether the investor is an individual who owns a very small percentage of the stock in a

 corporation or whether the investor is itself a corporation and owns 100% of the shares many

 companies.



16
  Nicholas Murray Butler, “Why Should We Change Our Form of Government?” 82 (1912).
https://archive.org/details/whyshouldwechan00butlgoog/page/n102 (accessed May 9, 2019). Nicholas Butler was
president of Columbia University, president of the Carnegie Endowment for International Peace, and a recipient of
the Nobel Peace Prize in 1931. See The Nobel Prize Organization, Nicholas Murray Butler,
https://www.nobelprize.org/prizes/peace/1931/butler/facts/ (accessed May 9, 2019).
                                                        14
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 16 of 96. PageID #: 88098




        21.        In order to achieve the economic benefits of the corporate form, the liability of

 investors, including parent corporations and affiliated corporations must be limited to the

 amount of their capital investments.

        22.        The ability of investors and companies to isolate liability within separately

 incorporated businesses (even under a single umbrella) enables them to pursue investment

 opportunities that have a positive present value benefits for employees, local communities,

 investors and others by encouraging investment. In sum, the rationale for limited liability is to

 encourage investment. This important economic objective can only be achieved if investors

 have a reasonable degree of certainty that when they make an investment they do not risk

 becoming personally and unlimitedly liable for the debts of the businesses in which they have

 invested.

        23.        From an economic perspective, limited liability allows business enterprises to

 aggregate the large amounts of capital that are often necessary to fund their operations from

 investors who would be unwilling to risk the entire corpus of their personal wealth in a risky

 business enterprise. Economists have observed that the expected cost of even a remote risk of a

 catastrophic loss will outweigh the prospective gains in many, if not most potential

 investments. 17 Thus, absent limited liability, a substantial portion of the investment in business

 that we observe would not occur.

        24.        Limited liability also facilitates the capital formation process by enabling

 investors to assemble diversified portfolios of stock and other assets. Such diversification




17
     Frank H. Easterbrook & Daniel R. Fischel, The Economic Structure of Corporate Law 44 (1991).
                                                        15
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 17 of 96. PageID #: 88099




 reduces the risk of holding financial assets such as stock, and further facilitates capital

 formation and the funding of new and existing businesses.

    25.         In addition, through holding companies and parent-subsidiary relationships,

 limited liability promotes the economic efficient operation of separately incorporated

 businesses. Parent companies can own controlling interests in multiple subsidiaries that are

 involved in business activities that have different risk and return profiles. Each can be managed

 according to its own particular requirements and needs, with cost savings generated by sharing

 access to capital markets and technical expertise between and among the various entities in the

 group.

    26.         Finally, limited liability enables investors to form, invest in and manage multiple

 businesses simultaneously. This permits entrepreneurs and managers to leverage their expertise

 and human capital resources across multiple enterprises.

          IV.   Support for Opinion #2

    27.         This opinion concerns the corporate governance and corporate control

 relationships between and among the Allergan Entities and the Divested Entities prior to the

 2016 transactions with Buyer. In my opinion the degree of control and influence exerted by

 certain of the Allergan Entities prior to the sale shares in the Divested Entities to Buyer in 2016

 was not unusual or aberrational as a matter of ordinary and customary corporate practice. The

 relationships among the various defendants were typical of the relationships between investors,

 parent companies and subsidiaries in the corporate world. They were not excessive or aberrant.

 All such control was a necessary and inevitable consequence of the fact that the relevant

 Allergan Entities owned 100% of the stock of the Divested Entities. Such stock ownership

 brings with it voting control, which simply means that the shareholder is able to elect all of the

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Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 18 of 96. PageID #: 88100




 members of the board of directors of the company whose shares are owned. The actual control

 of the company is not vested in the 100% shareholder. It is vested in the board of directors or

 other governing body of the portfolio company. Shareholder liability should result only if the

 owner of the control block of shares acts in an aberrant or deviant manner. There are no

 allegations, and I have seen no evidence, that the Allergan Entities exercised control of any of

 the Divested Entities in an aberrant or deviant manner.

     28.         The Allergan Entities respected corporate formalities throughout the time they

 owned shares in the Divested Entities.

     29.         Allergan Sales, LLC and Allergan USA, Inc. entered the Allergan corporate

 family when Actavis plc (n/k/a Allergan plc) acquired Allergan, Inc. in March 2015. 18 Four

 months later, the sale to Buyer was announced. 19 Allergan USA, Inc. and Allergan Sales, LLC

 never integrated with the Divested Entities prior to the completion of the sale in August 2016. 20

 There is no evidence or allegation that they had any control over the Divested Entities.

     30.         In sum, then, while the Allergan Entities owned shares of companies that

 manufactured and sold generic opioids (i.e., the Divested Entities), I have not seen allegations

 or evidence suggesting that they controlled the daily affairs of those companies, or that they

 financed or controlled the Divested Entities’ marketing or sales operations in Ohio. Moreover,

 the books, tax returns, and financial statements of the Allergan Entities were kept separate from




18
    https://www.allergan.com/news/news/thomson-reuters/actavis-completes-allergan-acquisition; Allergan, Inc. 2014
10K https://www.sec.gov/Archives/edgar/data/850693/000085069315000002/agn10-k2014.htm (pre-acquisition 10-
K listing Allergan Sales, LLC and Allergan USA, Inc. as subsidiaries).
19
   https://www.tevapharm.com/news/teva to acquire allergan generics for 40 5 billion creating a transformativ
e generics and specialty company well positioned to win in global healthcare 07 15.aspx.
20
    https://www.allergan.com/news/news/thomson-reuters/allergan-plc-completes-divestiture-of-global-gener;
September 2015 Org Chart, ALLERGAN_MDL_02147315 (demonstrating the lack of integration); March 2016 Org
Chart, ALLERGAN_MDL_02147111 (same).
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Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 19 of 96. PageID #: 88101




 those of the Divested Entities, and the Allergan Entities operated independently of the Divested

 Entities. 21

Allergan plc and Allergan Finance, LLC Status as Holding Companies

     31.         Allergan plc (f/k/a Actavis plc), and Allergan Finance, LLC (f/k/a Actavis, Inc.

 f/k/a Watson Pharmaceuticals, Inc.) are holding companies. They do not manufacture,

 distribute, produce or sell prescription drugs or any other products. They exist solely for the

 purpose of holding shares of other companies rather than producing goods or services. 22

     32.         A holding company is simply a company with assets that consist primarily or

 exclusively of stock in other companies. There are efficiency and tax reasons for using a

 holding company structure. For example, holding companies can obtain dividends from

 subsidiaries tax-free under certain circumstances, and holding companies also can facilitate

 capital formation and borrowing and general operational efficiencies. .

     33.         Holding companies normally and necessarily are involved in the activities of their

 subsidiaries because they are the stewards of their investments in these businesses. A parent’s

 involvement in the activities of its subsidiaries does not undermine the commercial principle –

 universally understood in the business world – that affiliates are distinct and separate entities

 from each other. Rather, such involvement is both appropriate and necessary. It is common for

 parent companies to directly or indirectly provide shared services such as insurance

 procurement, cash management, accounting, legal, technical, environmental, and to charge for

 such services. This is done for efficiency reasons, and helps profitability and economic




21
   See, e.g. First Declaration of Sheldon v. Hirt, Senior Vice President, Legal Affairs and Assistant Secretary of
Actavis plc, in Support of Actavis Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint, December
19, 2014.
22
   Id.
                                                        18
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 20 of 96. PageID #: 88102




 efficiencies, and economies of scale. It is well known in the world of mergers and acquisitions,

 for example, that every acquisition, by definition brings the company that is the target of the

 acquisition “under the control” of the acquirer. Such control, manifested by the acquirer’s share

 ownership, does not by itself imply or suggest that the acquirer automatically becomes

 responsible for the debts of the target. Every controlling shareholder (whether shares are held

 individually or by a corporation) has the power to control the company that they own. This is

 what it means to be a controlling shareholder.

    34.        It is common business practice for parent companies to control the capital

 expenditures of their subsidiaries. In particular, it is common for parent companies and

 controlling shareholders to approve leases, major capital expenditures, large investments, major

 policy decisions and sales of securities.

    35.        In this context, I note that capital expenditures represent investments in a business

 that are expected to generate revenue over a longer period of time (i.e., a period of time in

 excess of a single tax year). Capital expenditures are expenditures on assets such as new

 buildings or equipment or patents, as well as upgrades to existing facilities. In contrast,

 operating expenses are those incurred in the ordinary day-to-day operation of a business.

 Expenditures on maintenance, repairs, utilities and workers’ wages are examples of operational

 expenses. The tax and financial reporting treatment of capital and operational expenditures is

 different. The approval by a parent company of the capital expenditures of a subsidiary is

 consistent with ordinary and customary practice in the corporate world.

    36.        Holding companies and other corporate parent companies typically exert a degree

 of control over their subsidiaries, and such control is both desirable and necessary. When a

 corporation has a controlling interest in another corporation, that (parent) corporation will have
                                                  19
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 21 of 96. PageID #: 88103




 investors of its own. As a matter of basic business practice, a parent company must work to

 maximize the value of the subsidiary in order to generate a competitive return for its own

 shareholders. Similarly, parent companies generally are required to produce consolidated

 financial statements and tax returns that reflect the results of their subsidiaries. In order to do

 this, parents must be able to control the financial reporting of their subsidiaries in order to be

 sure that the results are reported accurately and in the proper format.

     37.       I am aware that certain employees involved in the operations of the Allergan

 Entities simultaneously performed roles as officers of other corporations within the corporate

 group. As a matter of ordinary and customary corporate governance, serving simultaneously in

 two or more roles within a corporate group is quite common and is known as “double hatting.”

 There is nothing nefarious about double-hatting, and does not provide a justification for

 imposing liability on the holding company from a corporate governance perspective. There are

 obvious efficiencies in the form of cost-savings associated with the practice. Double hatting

 also is done to provide an executive with opportunities to learn and gain experience in a variety

 of roles.

     38.       I note that it is ordinary and customary – and indeed unavoidable – for controlling

 investors to be involved in the high-level management of their businesses and to be involved in

 and have veto powers over certain long-term decisions for those businesses, such as decisions

 about capital expenditures or about the strategic direction of the company. If such decisions

 resulted in liability, then the investor managers in every one of the hundreds of thousands of

 corporations, partnerships and LLCs with owner/managers would face liability.




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Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 22 of 96. PageID #: 88104




     39.        From an economic perspective it is efficient for investors and their affiliated

 companies to monitor and provide managerial input and corporate governance services to their

 subsidiaries to other companies in which they have invested.

     40.        As a matter of ordinary and customary business practice, investors and their

 affiliates normally and necessarily are involved in certain of the activities of their affiliates

 because they are the stewards of their investments in these businesses. A person’s routine

 involvement in the activities of its subsidiaries does not undermine the commercial principle —

 universally understood in the business world — that treats affiliates as distinct and separate

 entities.

     41.        As was the case here, it is common for affiliates to be separately organized. Such

 affiliates often are incorporated in different states. Each may be subject to different laws,

 regulations and regulators, and one entity is not responsible for the liabilities of each other

 absent some exceptional corporate governance failure. Businesses rely on these principles of

 corporate separateness when making investments through acquiring other companies and in

 planning and operating their businesses.

     42.        It is common for a parent company and its affiliates to provide services to a

 number of its subsidiaries. These services, which are provided either by the parent or a

 subsidiary of the parent, are known as shared services when they are offered simultaneously to a

 number of subsidiaries. Because of their experience in providing certain services, it is efficient

 for parent companies (or certain specialized subsidiaries of the parent) to provide services for

 operating subsidiaries. It is common for services like accounting, legal, human resources,

 payroll, information technology (IT), compliance, purchasing, security, and engineering. The


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Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 23 of 96. PageID #: 88105




 provision of services by a parent is efficient because it reduces the costs of having decentralized

 business activities, and permits subsidiaries to avail themselves of the experience and expertise

 of the parent company.

     43.          From an economic perspective, where there is a benefit to having a parent

 company provide a service to the subsidiary, then the parent should be encouraged to provide

 such a service. For example, where a parent company has particular expertise in technical

 accounting or regulatory matters, that parent company should be encouraged to provide

 accounting or regulatory services to its subsidiaries because leveraging this expertise across

 firms within a corporate group is efficient. 23 Thus, from an economic perspective, it is

 inefficient to impose liability on a parent for permitting a subsidiary to avail itself of the

 parent’s expertise in various specific issues because the imposition of liability in this context

 would provide a strong disincentive to parent companies to allow their subsidiaries to avail

 themselves of a parent’s expertise.

     44.          A corporate group is a collection of corporations that function as a single

 economic entity through a common source of control. Parent companies are those companies in

 the group that own a controlling interest in the shares of other companies that are downstream in

 the group. Those companies that operate under common control by one or more parent

 companies are known as affiliate companies. Companies under common control of the same

 parent or parent companies are known as affiliates. It is ordinary and customary business




23
  See for example pages 95-96 of the October 26, 2018 deposition of Stephen Kaufhold, who was Treasurer of
Allergan Sales, LLC and also served as “treasurer of several legal entities in the Allergan group of companies.” As
explained here, performing such multiple roles in affiliated corporations is ordinary and customary in the corporate
world, and facilitates the efficient operation of complex businesses.
                                                         22
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 24 of 96. PageID #: 88106




 practice for companies that are members of the same corporate group to operate as a single

 entity for financial or tax reporting.

     45.        It is common for companies within the same corporate group to use the same

 stationary, to share domain names/emails, marketing programs and to refer to themselves as a

 single entity, notwithstanding the fact that the corporate group is comprised of a number of

 distinct legal entities, often incorporated in different jurisdictions. Likewise, parent companies

 and subsidiary companies that produce the same products may be considered a single entity for

 antitrust purposes, even when their identities remain distinct for organizational or other legal

 purposes. For example, it is common practice for the multiple subsidiaries of multi-national

 corporations to conduct business and engage in activities such as research and development

 (R&D) jointly as integrated global teams. 24 One strategy utilized by multi-national corporations

 is “to put together an Integrated Network of R&D units—essentially a “virtual organisation”

 that physically exists in multiple countries but that thinks and acts as an integrated whole. This

 approach allows for a coherent and structured R&D strategy to emerge, but it gives very limited

 degrees of freedom to the individual R&D units because they are acting as satellites of the

 headquarters operation.” 25

     46.        Parent companies, particularly large companies often engage in corporate

 branding across subsidiaries and other related companies as a marketing strategy. In business,

 the synergies available from having parents and subsidiaries engage in joint marketing

 arrangements are cited, along with sharing administrative services and financial systems, as a




24
   Julian Birkinshaw, “Managing Internal R&D Networks in Global Firms: What Sort of Knowledge is Involved?”
35 Long Range Planning, 245–267 (2002).
25
   Id.
                                                     23
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 25 of 96. PageID #: 88107




 principal advantages of forming subsidiaries in the first place. 26 For example, it is not

 uncommon for parent companies and subsidiaries and affiliates to share logos, specific

 letterhead or stationary, common websites, domains/emails, and packaging.

     47.         In this litigation Plaintiffs suggest that the corporate veil of the Divested Entities

 should be pierced because “Actavis plc’s SEC filings explained that “references throughout to

 ‘we,’ ‘our,’ ‘us,’ the ‘Company’ or ‘Actavis’ refer interchangeably to Watson Pharmaceuticals,

 Inc., Actavis, Inc., and Actavis plc depending on the date.” 27 These descriptions in financial

 reports were entirely consistent with ordinary and customary business practice among corporate

 groups and does not provide a justification for imposing liability on the holding company from a

 corporate governance perspective.

     48.         For example, in the GE Annual Report for 2016, the company refers to itself as a

 global company and refers to its joint activities with its subsidiaries as activities by “the

 company.” GE reports in its 10-K that “we also produce and market engines through CFM

 International, a company jointly owned by GE and Snecma… .” 28 Similarly, in its annual report

 for 2016, the large insurance company AIG uses the terms “AIG,” the “Company,” we,” “us”

 and “our” to refer to American International Group, Inc., a Delaware corporation, and to its

 subsidiaries. 29 Likewise, Apple Inc. notes in its annual report that “the ‘Company’ and ‘Apple’

 as used herein refers collectively to Apple Inc. and its wholly-owned subsidiaries, unless




26
   Chirantan Basu, “What Are the Advantages & Disadvantages of Establishing the Company's Own Subsidiary
Overseas?” Small Business Chronicle, http://smallbusiness.chron.com/advantages-disadvantages-establishing-
companys-own-subsidiary-overseas-34167 html.
27
   In re National Prescription Opioid Litigation, Third Amended Complaint, March 21, 2019, page 16, paragraph
50.
28
   GE 2016 10-K at 46, available at http://www.ge.com/ar2016/assets/pdf/GE_AR16.pdf.
29
   AIG 2016 Annual Report at page 3, available at http://www.aig.com/content/dam/aig/america-
canada/us/documents/investor-relations/december-31-2016-10k.pdf.
                                                      24
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 26 of 96. PageID #: 88108




 otherwise stated.” 30 And Google reports that “throughout this Annual Report on Form 10-K,

 we refer to Alphabet and its consolidated subsidiaries, including Google and its consolidated

 subsidiaries, as ‘we,’ ‘us,’ and ‘our;’ Alphabet Inc. and its subsidiaries as ‘Alphabet;’ and

 Google Inc. and its subsidiaries as ‘Google.’” 31 Similarly, Newmont Mining Corporation, the

 largest copper mining company in the U.S., refers to itself together with its affiliates and

 subsidiaries as “Newmont,” “the Company,” “our” and “we.” 32

     49.        As was the case here, it is nonetheless common for affiliates to be separately

 organized. Businesses rely on principles of corporate separateness when making investments

 and in planning and operating their businesses.

     50.        As a majority and hence controlling shareholder, a holding company’s

 responsibilities of stewardship extend to all of its subsidiaries. It is extremely common for

 operating entities such as the Divested Entities to be owned by a holding company like Allergan

 plc. To reiterate: holding companies ordinarily and customarily “control” the high-level

 management of their subsidiaries because they, by definition, own a control block of the shares

 issued by such subsidiaries. Accordingly, the general and conclusory averment that a holding

 company “controls” its subsidiaries is nothing more than a general description of the holding

 company form of business organization and does not provide a justification for imposing

 liability on the holding company.




30
   Apple 2014 Annual Report, available at http://files.shareholder.com/downloads/AAPL/5260568319x0xS1193125-
14-383437/320193/filing.pdf.
31
   Alphabet/ Google 2015 Annual Report, available at https://abc.xyz/investor/pdf/20151231 alphabet 10K.pdf.
32
   Newmont 2016 Annual Report, at page 104, available at
http://s1.q4cdn.com/259923520/files/doc_financials/annual/2016/Newmont-2016-Annual-Report-Bookmarked-
PDF-for-website.pdf.
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Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 27 of 96. PageID #: 88109




     51.        Based upon my review of the Third Amended Complaint and the evidence in this

 case, there is nothing improper or contrary to public policy about Allergan plc’s alleged

 involvement (or about any of the other Allergan Entities’ alleged involvement) in the business

 affairs or operations of the Divested Entities. In fact, it is ordinary and customary – and indeed

 unavoidable – for controlling investors, like Allergan plc to be involved in the oversight and

 management of their affiliates and subsidiaries, and to make certain decisions on behalf of those

 affiliates and subsidiaries.

Corporations vs. LLCs

     52.        I note that some of the Divested Entities were organized as corporations, while

 others were organized as limited liability companies. The corporate governance of these two

 types of limited liability business forms is very different, and these differences are significant

 from a veil-piercing perspective.

     53.        A fundamental principle of corporate governance in both corporations and LLCs

 is that corporate powers are not exercised by and corporate decisions are not made by either

 equity investors or debtholders. The principle that equity investors, whether their investments

 take the form of shareholdings in corporations or membership units in LLCs, do not exercise

 corporate governance control is based on the fact that such control is exercised by appropriately

 delegated agents.

     54.        In the case of corporations, the delegated agent responsible for controlling the

 corporation is the board of directors. Corporate authority is exercised not by shareholders, even

 by shareholders who own 100% of a corporation’s shares, but by the board of directors. Such




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Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 28 of 96. PageID #: 88110




 shareholders do not have the authority to cause a corporation to take any action. Rather, by

 longstanding custom and practice, corporate power is vested in the board of directors. 33

     55.          While LLCs provide limited liability to their investors just as corporations do, the

 LLC is a relatively new legal structure for businesses, at least in the U.S. From a corporate

 governance perspective, LLCs are managed in ways similar to the way that corporations are

 managed, but there are important distinctions. While corporations are managed by their boards

 of directors, LLCs may be managed either by elected managers (known as manager-managed

 LLCs) or by elected members (so-called member-managed LLCs).

     56.          Investors creating an LLC can make an election at the time that the LLC is

 formed whether to organize the LLC as a member-managed LLC or as a manager-managed

 LLC. In either case, the managers perform the same role in the corporate governance of the

 LLC that is played by boards of directors in corporations. In member-managed LLCs, the

 member-managers act both as investor/owners and as mangers. LLC members are investors,

 not employees. But where an LLC member acts as a member-manager and performs

 management duties, that individual typically will receive compensation as an employee. Such

 employment income is separate from the member’s status as an owner/investor.

     57.          As owners/investors, members of member-managed LLCs enjoy the same limited

 liability as shareholders in corporations, 34 because limited liability companies (LLCs),



33
   This longstanding custom and practice is reflected in state corporate law statutes. For example, Model Business
Corporation Act (MBCA) Section 8.01(b) provides that “All corporate powers shall be exercised by or under the
authority of, and the business and affairs of the corporation managed under the direction of, its board of directors.”
Similarly, Delaware General Corporation Law Section 141(a) provides that “The business and affairs of every
corporation organized under this chapter shall be managed by or under the direction of a board of directors.” Courts
have rejected efforts to restrict the authority of the board of directors. See, e.g., CA, Inc. v. AFSCME Employee
Pension Plan, 953 A.2d 227 (Del. 2008).
34
   Of course, just as shareholders can and do typically serve on a corporation’s boards of directors, so too can
members of LLCs also serve as managers of those entities. From a corporate governance perspective, there is a
crucial distinction between actions taken by a person in her capacity as a shareholder or investor, and actions taken
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Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 29 of 96. PageID #: 88111




 including single-member LLCs, are, from a corporate governance perspective, conceptualized

 as separate juridical entities from their owners. For this reason, LLCs are solely liable for their

 own contractual and tort obligations. Their members, including members who own 100% of the

 membership interests in the LLC, are not ordinarily legally responsible for the debts of the

 entity absent extraordinary circumstances. I note that no such extraordinary circumstances are

 alleged against the Allergan Entities or the Divested Entities in the Third Amended Complaint

 and I have seen no evidence of such extraordinary circumstances in my review of the evidence

 in this case.

     58.          I further note that while investors in both corporations and LLCs enjoy limited

 liability and are not liable for the debts of these entities, there are important differences between

 these two types of business organization. In particular, corporations are required to operate with

 a certain level of formality. This traditional requirement that corporations must observe

 corporate formalities does not apply to the operation of LLCs, which can operate more

 informally. Because of the differences between corporations and LLCs described here, as a

 theoretical and a practical matter, the analysis that is used when attempting to pierce the

 corporate veil of a corporation cannot be used when attempting to pierce the corporate veil of an

 LLC.

     59.          Generally speaking, while the corporate veil may be pierced against an LLC that

 is used as a subterfuge to defeat public convenience, justify wrong or perpetrate fraud, other

 historic grounds for piercing the corporate veil against a corporation may not suffice as

 justifications for piercing the corporate veil of an LLC. For example, it sometimes is said that



by the same person in her capacity as a director or manager. Power exercised or decisions made as a shareholder
(such as electing directors and voting for fundamental corporate changes such as the sale of the business) do not give
rise to liability.
                                                         28
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 30 of 96. PageID #: 88112




 liability can exist against a shareholder under a piercing the corporate veil theory where it is

 shown to be the alter ego, mere instrumentality, or agent of a corporate defendant. However,

 these factors may not serve as the basis for liability in the LLC context because LLCs are not

 required under state law to observe formalities in their governance and operations, and are

 permitted to be managed by only one member. 35

     60.         In this context, I note that several of the entities that Plaintiffs have named as

 defendants in this litigation, including Allergan Sales, LLC, Actavis Totowa LLC, Actavis LLC,

 Actavis South Atlantic LLC, Actavis Elizabeth LLC, Actavis Kadian LLC, Actavis Mid

 Atlantic LLC and Actavis Totowa LLC are Delaware LLCs. Commentators on Delaware

 corporate law have observed that Delaware “alternative entities” such as limited partnerships

 and limited liability companies are not the same thing as corporations…. “In the context of veil

 piercing, these distinctions suggest that a Delaware LLC should not be subject to true veil

 piercing at all… and assuming the LLC’s veil may be pierced, any piercing should be subject to

 different standards than those applicable to piercing the corporate veil.” 36

     61.         Defendant Allergan Finance, LLC is a Nevada LLC, which follows a similarly

 restrictive approach to veil piercing. In Nevada, it is harder to pierce the corporate veil of LLCs

 than of corporations. Indeed, some scholars state that the alter-ego theory of veil piercing

 cannot be applied against LLCs in Nevada, only against corporations. 37 Further courts in




35
   Peschel Family Trust v. Colonna, 75 P.3d 793, 796-97, 799 (Mont. 2003).
36
   The MGM Law Firm News, The Delaware LLC is Not a Corporation and Should Be Subject to a Different Veil
Piercing Analysis, January 25, 2017, https://www mgmlaw.com/the-delaware-llc-is-not-a-corporation-and-should-
be-subject-to-a-different-veil-piercing-analysis (accessed May 2, 2019).
37
   Phillips Ballenger, Why Nevada LLCs Just Might Be the Best!, Nevada Estate Planning and Asset Protection Blog,
March 13, 2013, https://phillipsballenger.com/lawyer/2013/03/13/Asset-Protection/Why-Nevada-LLCs-might-just-
be-the-best! bl7106 htm (accessed May 2, 2019).
                                                       29
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 31 of 96. PageID #: 88113




 Nevada have expressed an unwillingness to pierce the corporate veil “absent a significant

 amount of fraud.” 38

     62.         The point here is not to provide a legal analysis of veil piercing in LLCs. Rather

 the point is merely that, from a corporate governance perspective, LLCs and corporations are

 very different, and the Plaintiffs’ failure to distinguish between corporate defendants and LLC

 defendants in its Third Amended Complaint, coupled with their failure to articulate any factual

 basis for their piercing claims, render the Complaint devoid of economic or public policy

 justifications for piercing the corporate veil of any of the Allergan Entities or of any of the

 Divested Entities.

     63.         With respect to both LLCs and corporations, consistent with the point made here

 that shareholders and investors in LLCs do not manage the corporations in which they invest,

 while corporations are managed by their boards of directors and LLCs are managed by their

 elected or delegated managers, shareholders and other equity investors do have indirect power

 over the governance of the companies in which they invest by virtue of their ability to elect

 directors and other delegated managers. This ability to elect directors or LLC managers

 sometimes is described as the “power to control” the corporation or LLC. It is well understood

 that this power to control is indirect and is not considered an adequate basis for assigning

 liability.

 Different Kinds of Control

     64.         There is a fundamental distinction between the “power” to control a company,

 such as by voting to elect directors or LLC managers, and the actual exercise of such power.




38
 Nevada Corporate Planners, Inc., (NCP), “Why Nevada? The Current State of ‘Piercing the Corporate Veil’ in
Nevada, https://www nvinc.com/piercecorpnext htm (accessed May 2, 2019).
                                                     30
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 32 of 96. PageID #: 88114




 Every parent company – and indeed every majority or controlling shareholder – has the “power

 to control” the company in which they own the control block of shares. In this way, it always

 will be true that a parent company or majority or controlling investor “could have prevented” a

 loss by creditors of subsidiary corporations by identifying the problem that caused the loss and

 correcting it.

     65.          In practical terms, a shareholder that owns or controls a majority of the voting

 shares of a company has the power to elect that company’s board of directors. The board of

 directors has the power to hire and fire managers, determine the strategic direction of the

 company, and oversee the day-to-day operation of the company. As a practical matter,

 however, the board of directors is answerable to the shareholders. And because the board can

 be replaced by the controlling shareholder, boards of directors are instruments of the

 shareholders’ will, subject of course to the constraints that directors must act in accordance with

 all applicable laws and regulations.

     66.          With regard to the Plaintiffs’ assertion that the Allergan Entities “controlled” the

 Divested Entities, I note that these assertions are based on the mere fact that certain of the

 Allergan Entities owned 100% of the shares in the Divested Entities. However, majority (and

 certainly 100%) share ownership in corporations always brings with it the kind of “control”

 identified by the plaintiffs. This type of control does not result in shareholder liability. After

 all, if the control that results from ownership of a majority of shares in a corporation were

 sufficient to cause the shareholder to face liability for the tort or contract liabilities of the

 company, then all parent companies would always and automatically be liable for the debts of

 their subsidiaries.




                                                   31
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 33 of 96. PageID #: 88115




    67.        If majority ownership, or ownership of a so-called control block of stock in a

 company were tantamount to the kind of control required for veil piercing, then veil piercing

 would be automatic, and the concept of limited liability would disappear.

    68.        As an economic matter, any person or entity that owns or controls shares

 representing more than 50 percent of the voting rights in another company is said to “control”

 that company. However, within the ordinary lexicon of corporate America, there are many

 types and degrees of control. Generally speaking, as a matter of ordinary and customary

 corporate practice, those who own a controlling interest (more than 50 percent of the voting

 shares) in a corporation exert significant actual control over the operations of that corporation.

 As an economic matter, the exercise of such control is necessary in order for the controlling

 shareholder to protect its investment. In other words, it is ordinary and customary for investors,

 including holding companies and other parent companies to interact and to exert investment

 control over the companies in which they have invested. Similarly, it is ordinary and customary

 in business for investors who own a controlling block of stock in a corporation to be heavily

 involved in the governance, strategy, investments, and operations of the businesses in which

 they have invested.

       V.      Support For Opinion #3

    69.        The Allergan Entities and the Divested Entities were substantial companies with

 their own corporate governance infrastructures. They operated in a manner that was separate

 and distinct from the operations of their parent companies, and had a significant amount of

 independence. With regard to the Divested Entities, their independence from the Allergan

 Entities was well within the normal range for wholly-owned subsidiaries.




                                                 32
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 34 of 96. PageID #: 88116




     70.          I am unaware of any allegations or evidence suggesting that the Divested Entities

 failed to observe any required corporate formalities or violated any provision of U.S. or foreign

 law pertaining to their formation or operation.

     71.          As further proof that the Divested Entities were not mere corporate shells for

 which piercing the corporate veil might be contemplated, I note that just prior to the divestiture,

 the Allergan Entities and all of its affiliates together had a total head count of approximately

 31,200 employees. It is significant that of these 31,200 employees, approximately 14,900 —

 almost one-half — moved with the Divested Entities to Buyer when Buyeracquired 100 percent

 of the shares in these businesses. 39

     72.          Prior to the divestiture, subsidiaries and affiliates of Allergan entities owned and

 operated 24 manufacturing facilities at which finished products were produced. Fully two-

 thirds of these facilities were transferred to Buyer as part of the divestiture. 40 The Allergan

 Entities transferred the following bricks and mortar manufacturing plants at which finished

 products were produced to Buyer:


             Location State                                                                                    Country
             Dupnitsa..................................................................................... Bulgaria
             Davie............................................................................................ Florida
             Athens.......................................................................................... Greece
             Hafnarfjordur............................................................................... Iceland
             Ambernath.................................................................................... India
             Goa............................................................................................... India
             Dublin............................................................................................ Ireland
             Nerviano....................................................................................... Italy
             Birzebbugia.................................................................................. Malta
             Zetjun........................................................................................... Malta
             Elizabeth....................................................................................New Jersey


39
   Allergan plc, Warner Chilcott Limited, Combined Annual Report for the fiscal year ended December 31, 2015 at
22.
40
   Id. at 15.
                                                                33
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 35 of 96. PageID #: 88117




              Coleraine........................................................................... Northern Ireland
              Fajardo......................................................................................Puerto Rico
              Manati.......................................................................................Puerto Rico
              Barnstable.................................................................................... UK
              Salt Lake City.............................................................................. Utah 41


     73.          Further support for my opinion that the Divested Entities were substantial

 companies with their own corporate governance infrastructures is reflected in the significant

 value that was received for these entities in arms-length transactions with a bona fide third party

 purchaser. In exchange for these shares, Allergan received $40.50 billion, $33.75 billion of

 which was paid in cash and the balance of which was paid by transfer of $6.75 billion in Teva

 Pharmaceutical Industries Ltd. stock (based on the market price for Teva Pharmaceutical

 Industries Ltd. shares (or American Depository Shares with respect thereto)) at the time the

 transaction was announced. 42

     74.          Further support for my opinion that the Divested Entities were substantial entities

 and not corporate shells is reflected in the fact that the Divested Entities manifested their

 corporate separateness and independence in myriad ways. For example, as the following chart

 shows, these entities were: (a) treated as separate entities for tax purposes and were subject to

 audits by tax authorities and auditors separate and apart from their parents and affiliates; (b)

 entered into contracts in their own right; and (c) were sued in their individual corporate




41
  Id.
42
  Id. at F-15 (Index to Consolidated Financial Statements). In exchange for the $40.5 billion purchase price, Buyer
received shares in direct or indirect subsidiairies of Allergan plc that operated the global generics business, including
the United States (“U.S.”) and international generic commercial units, their third party supplier Medis, their global
generic manufacturing operations, their global generic R&D unit, their international over-the-counter (OTC)
commercial unit (excluding OTC eye care products) and “some established international brands.” Id.
                                                                34
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 36 of 96. PageID #: 88118




 capacities in litigation by third party plaintiffs and hence recognized as legitimate, separate

 juridical entities: 43

      Divested Entity Name:            Manifestation of Corporate Independence Include:
      Warner Chilcott                    • Independently and separately audited by
      Company, LLC                           Pricewaterhouse Coopers LLP’s office in Hato Ray
                                             Puerto Rico.
                                         • Secretary of the Department of Economic
                                             Development and Commerce of the Commonwealth
                                             of Puerto Rico grant of tax exemption from specified
                                             truces to Warner Chilcott Company, LLC as an
                                             “eligible industry” because it proved to the
                                             satisfaction of the Secretary of the Department of
                                             Economic Development and Commerce that it has
                                             established, or will establish an eligible industry as
                                             defined in the Act and that the same will be in the best
                                             interest of Puerto Rico; Actonel Promotion and
                                         • Distribution Agreement, dated as of January 15, 2015
                                             by and between Warner Chilcott Company, LLC and
                                             Sanofi Winthrop Industrie;
                                         • Transition Agreement, dated as of October 31, 2014,
                                             between Warner Chilcott Company, LLC and Sanofi-
                                             Aventis U.S. LLC;
                                         • Actonel Promotion and Distribution Agreement, dated
                                             as of January 30, 2014, by and between Warner
                                             Chilcott Company, LLC and Sanofi Winthrop
                                             Industrie.
      Actavis Pharma, Inc.               • Actavis Pharma, Inc. filed its Indiana Corporate
      (f/k/a/ Watson Pharma,                 Income tax return on a separate state filing basis.
      Inc.)
      Watson Laboratories,                 •   Supply Agreement, dated June 10, 2010 between The
      Inc. and its indirect                    RiteDose Corporation and Watson Laboratories, Inc.
      subsidiary:                              (as amended on June 1, 2012 and August, 2012);
                                           •   Settlement Agreement, dated March 23, 2013,
                                               between Watson Laboratories, Inc., EGIS
                                               Pharmaceuticals PLC, AstraZeneca AB and Shionogi
                                               Sieyaku Kabushiki Kaisha in connection with
                                               approvals requested from the FDA for a rosuvastatin
                                               zinc product (NDA No. 202-172) and a rosuvastatin
                                               calcium product (ANDA No. 79-167);



43
  Except as otherwise noted, this information was compiled from various documents produced at the Deposition of
Stephan Kaufhold, October 26, 2018, Exhibit 3.
                                                      35
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 37 of 96. PageID #: 88119




                                         •   IRS Audit: 12/31/2010 to 6/30/2015 (withholding
                                             tax);
                                         •   Litigation regarding Vardenafil Hydrochloride
                                             (Staxyn®): Bayer Pharma AG, et al. v. Watson
                                             Laboratories, Inc., et al. (D. Del. 1 :12cv-005l7-GMS-
                                             Sleet)
                                         •   Master Supply Agreement between Watson
                                             Laboratories, Inc. and Catalent Pharma Solutions,
                                             LLC
      Actavis LLC and its                •   U.S. federal income tax audit for the tax years ended
      direct subsidiaries:                   12/31/2009, 12/31/2010, 12/31/2011 and 10/31/2012
                                             for Actavis LLC (f/k/a Actavis Inc.).
                                         •   Litigation: Actavis LLC’s direct subsidiary Actavis
                                             Laboratories FL, Inc. (f/k/a Watson Laboratories, Inc.-
                                             Florida) was involved in litigation regarding
                                             Metbylpbenidate HCl Extended-Release Oral NIA
                                             Suspension, CII (Quillivant XR®): Tris Pharma Inc.
                                             v. Actavis Laboratories FL Inc. (D. Del. 1 :15-cv-
                                             00393-Sleet)


     75.        Further support for my opinion that the Divested Entities sold to Buyer were

 substantial entities that is particularly relevant for this litigation is found in the fact that these

 entities themselves managed and held the intellectual property rights to several of the

 prescription drug medications that I understand are at issue in this litigation.

     76.        In particular, the Divested Entities themselves held the ANDAs and the New

 Drug Application (“NDA”) for the certain medications at issue in this litigation.

     77.        The NDA is the vehicle through which drug sponsors formally propose to the

 FDA that it approve a new medicine for sale and marketing in the U.S. The data gathered

 during the animal studies and human clinical trials of an Investigational New Drug (IND)




                                                    36
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 38 of 96. PageID #: 88120




 become the focal part of the NDA. 44 NDAs are approved for the entity that applies for the

 NDA, which in this case, of course, were the Divested Entities that filed the applications.

     78.          ANDAs contain the data that is transmitted to the U.S. Food and Drug

 Administration for review and potential approval of a generic drug product. Once approved, it is

 the applicants, which in this case were the Divested Entities that were granted permission to

 manufacture and market the generic drug product. 45

     79.          The following chart depicts the ANDAs and NDAs held by the Divested Entities

 that are named as defendants in this case: 46

       Divested Entity       Abbreviated New Drug Application and/or New Drug Application
       Name:                 holder for:
       Watson                Fentanyl citrate injection (ANDA# 074917)
       Laboratories,         Fentanyl citrate table (ANDA# 079075)
       Inc.                  Fentanyl transdermal (ANDA# 076709)
                             Hydrocodone / acetaminophen (ANDA #s 081083; 081080; 081079;
                             040094; 040122; 040123; 040099; 040148; 089883; 040248);
                             Meperidine Hydrochloride Injection (ANDA #s 073443; 073444;
                             073445)
                             Meperidine Hydrochloride Tablet (ANDA # 040186);
                             Morphine sulfate injection (ANDA #s 073373; 073374; 073375;
                             073376);
                             Morphine sulfate capsule (ANDA # 200812);


44
   U.S. Food and Drug Administration, “New Drug Application (NDA),” https://www.fda.gov/drugs/types-
applications/new-drug-application-nda
45
   U.S. Food and Drug Administration, “Abbreviated New Drug Application (ANDA),”
https://www.fda.gov/drugs/types-applications/abbreviated-new-drug-application-anda (accessed May 6, 2019).
Generic drug applications are denoted as "abbreviated" applications because they generally are not required to
include preclinical (animal) and clinical (human) data to establish safety and effectiveness. Instead, generic
applicants must scientifically demonstrate that their product performs in the same manner as the innovator drug. A
primary way that abbreviated new drug applicants demonstrate that a generic product performs in the same way as
the innovator drug is to measure the time it takes the generic drug to reach the bloodstream in healthy volunteers.
This demonstration of “bioequivalence” gives the rate of absorption, or bioavailability, of the generic drug, which
can then be compared to that of the innovator drug. To be approved by FDA, the generic version must deliver the
same amount of active ingredients into a patient's bloodstream in the same amount of time as the innovator drug.
The "Drug Price Competition and Patent Term Restoration Act of 1984," (Public Law 98-417) also known as the
Hatch-Waxman Amendments, established bioequivalence as the basis for approving generic copies of drug products.
See U.S. Food and Drug Administration, “Abbreviated New Drug Application,” https://www fda.gov/drugs/types-
applications/abbreviated-new-drug-application-anda (accessed May 6, 2019).
46
   This information was collected in response to Plaintiffs' 30(b) (6) Notice and is reflected in a document that was
produced as Exhibit 3 to in the Deposition of Stephan Kaufhold, October 26, 2018.
                                                         37
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 39 of 96. PageID #: 88121




                       Oxycodone / acetaminophen (ANDA #s 040234; 040171; 040371;
                       040535);
                       Oxycodone / aspirin (ANDA #s 040255; 090084);
                       Oxycodone / ibuprofen (ANDA# 078394);
                       Morphine sulfate tablet (ANDA# 075656).


     Actavis South     Oxymorphone tablet (ANDA# 079046)
     Atlantic LLC      Fentanyl transdermal (ANDA# 077602)
     Actavis           Kadian® NDA (020616)
     Elizabeth LLC     Oxycodone / acetaminophen (ANDA #s 040203; 040199; 040800;
                       201447);
                       Homatropine methylbromide / hydrocodone bitartrate (ANDA#
                       040295);
                       Morphine sulfate capsule (ANDA #s 020616; 079040)
                       Morphine sulfate tablet (ANDA# 203849)
                       Oxycodone / hydrochloride tablet (ANDA# 076636)
                       Oxycodone / ibuprofen (ANDA# 078769)
                       Oxymorphone tablet (ANDA# 079046)
     Actavis Mid       Homatropine methylbromide/ hydrocodone bitartrate (ANDA#
     Atlantic LLC      088017)
     Actavis Totowa    Oxycodone / acetaminophen (ANDA #s 040203; 040199; 040800);
     LLC               Homatropine methylbromide / hydrocodone bitartrate (ANDA#
                       040295);
                       Oxycodone / hydrochloride tablet (ANDA# 076636)
     Actavis           Kadian® NDA (020616)
     Laboratories
     UT, Inc. (f/k/a
     Watson
     Laboratories,
     Inc.-Salt Lake
     City)
     Actavis           Hydrocodone / acetaminophen (ANDA #s 040493; 040494; 040495;
     Laboratories      0401481; 206470);
     FL, Inc. (f/k/a   Hydrocodone / ibuprofen (ANDA #s 077454; 076604);
     Watson            Oxycodone / aspirin (ANDA# 090084);
     Laboratories,     Hydromorphone tablet (ANDA# 202144).
     Inc.-Florida)




                                           38
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 40 of 96. PageID #: 88122




     80.           Based on a review of the current version of the FDA Orange Book, which

 identifies approved drugs products, there are numerous drugs registered to the Divested Entities

 to this day. 47

     81.           Allergan Finance, LLC, Allergan USA, Inc., and Allergan Sales, LLC and

 Allergan plc are not DEA registrants authorized to manufacture or distribute Schedule II

 controlled substances. 48 I understand the Divested Entities maintained DEA registrations to

 distribute and manufacture controlled substances, and after the 2016 sale transaction, the

 Allergan Entities outsourced manufacturing and distribution of Kadian and Norco because they

 no longer had any DEA registrations to manufacture or distribute Schedule II controlled

 substances. 49

     82.           The book value of the assets sold to Buyer as of December 31, 2015 was $14.07

 billion, as against liabilities transferred of $2.07 billion. 50

     83.           The following chart lists the names and addresses of the directors and officers of

 Divested Entities in 2012. Those names marked with an asterisk (“*”) depict individuals who

 served as officers and/or directors of these Divested Entities whose positions did not overlap.

 This lack of overlap is unusual and is a powerful indication that these entities were separate

 entities with their own governance structures.

 Actavis Pharma, Inc. & Subsidiaries (f/k/a/ Watson Pharma, Inc.) Board as of July 24, 2012
                              ALLERGAN MDL 03367292
Paul M. Bisaro                Director, President and CEO
G. Frederick Wilkinson        President, Global Brands and Biosimilars
Robert A. Stewart             President, Global Operations
R. Todd Joyce                 CFO, Global and Principal Accounting Officer



47
   https://www.fda.gov/media/71474/download
48
    S. Kaufhold Ex. 3
49
    Id.
50
   Id. at F-15, Note 8, Assets Held for Sale.
                                                    39
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 41 of 96. PageID #: 88123




David A. Buchen                Chief Legal Officer -- Global and Secretary
Ranjana B. Pathak              Senior Vice President, Quality
*Andrew Boyer                  Senior Vice President, Sales & Marketing, U.S. Generics
                               Division
*Charles M. Mayr               Chief Communications Officer - -Global
*Lynne Amato                   Vice President, Brand Sales and Operations
*Thomas R. Griffin             Vice President, US Brand Sales and Operations
*Tim Callahan                  Vice President, International Brands & Biologics Marketing
*Diane Miranda                 Vice President, Global Demand Planning and Logistics
Kathleen Reape                 Vice President, Medical Affairs and Women’s Health Clinical
                               Research
*Allan Slavsky                 Vice President, National Accounts
Michael W. Carr                Vice President, Human Resources
*Sigurd C. Kirk                Senior Vice President, Corporate Business Development and
                               Integration
James O’ Brien                 Vice President, Controller
James A. Williamson            Vice President, Finance
Brett W. Hagadorn              Assistant Secretary
                     Watson Laboratories, Inc. Board as of July 24, 2012
                             (ALLERGAN MDL 03367294.)
Paul M. Bisaro                 Director, President and CEO
G. Frederick Wilkinson         President, Global Brands and Biosimilars
Robert A. Stewart              President, Global Operations
R. Todd Joyce                  CFO, Global and Principal Accounting Officer
David A. Buchen                Chief Legal Officer -- Global and Secretary
*Patrick G. Brunner            Senior Vice President, Manufacturing Operations
*Charles D. Ebert              Senior Vice President, Research and Development
Ranjana B. Pathak              Senior Vice President, Quality
*Nick Kerkhof                  Vice President Pharmaceutical Technology
*Gary Kozloski                 Vice President, Medical and Professional Affairs
*Gary Holloway                 Vice President, Asia/Pacific – Global Generics
*Jeffery Regan                 Vice President, Third Party Manufacturing
*Beth Brennan                  Vice President, Brand Sales and Operations
Kathleen Reape                 Vice President, Medical Affairs and Women’s Health Clinical
                               Research
Michael W. Carr                Vice President, Human Resources
James O’ Brien                 Vice President, Controller
James A. Williamson            Vice President, Finance
*Miguel A. Gomez               Vice President, Americas Manufacturing
Brett W. Hagadorn              Assistant Secretary
*Roberta Loomar                Assistant Secretary




                                            40
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 42 of 96. PageID #: 88124




     84.          In conclusion, I have seen no support for the contention that any of the Divested

 Entities was improperly organized or operated or governed in the period prior to their sale to

 Buyer. Similarly, I have seen no indication that the corporate or LLC forms of business

 organization were abused in any way.

         VI.      Support for Opinion #4

     85.          The 2016 transaction involved the sale of 100% of the stock that the Allergan

 Entities owned in the Divested Entities. 51 The terms of the Master Purchase Agreement, dated

 July 26, 2015 (“Master Purchase Agreement”), which is the contract that governed these

 transactions, make it clear that the Allergan Entities were not involved directly or indirectly in

 any improper way in the ownership, control, management or governance of any of the Divested

 Entities, all of which were divested pursuant to that Agreement. 52

     86.          Prior to the 2016 transactions, Allergan plc or one of its subsidiaries was the

 owner of one hundred percent (100%) of the outstanding equity (stock) of each Divested entity

 that was sold. At the closing of the July 2016 transaction, Allergan plc received $33.75 billion

 in cash and $6.75 billion in Teva Pharmaceutical Industries Ltd. stock in exchange for 100% of

 Allergan’s equity interests in these entities. Analysis of this transaction shows that Allergan plc

 was not in any way involved directly or indirectly in any improper way in the ownership,

 control, management or governance of any of the Divested Entities.

     87.          The Master Purchase Agreement demonstrates that the 2016 transactions involved

 the sale of all of the shares owned directly or indirectly by the Allergan entities in the Divested




51
   To the extent that assets were transferred in the 2016 transactions, these assets were transferred by the Divested
Entities who owned such assets.
52
   ALLERGAN_MDL_SUPP 00000174.
                                                          41
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 43 of 96. PageID #: 88125




 Entities and represented a complete transfer of every manifestation of control by the Allergan

 Entities over the Divested Entities.

     88.        Regarding the point that Allergan sold all of its shares in the Divested Entities,

 Section 2.1, which is titled Agreement to Purchase and Sell, of the Master Purchase Agreement

 provided that the Allergan Entities (referred to in the Master Purchase Agreement as the

 “Sellers”) shall sell all of their stock in the Divested Entities to Buyer:

               At the Closing, in accordance with and pursuant to the terms and
               conditions of this Agreement, for the consideration stated in
               Section 3.2(a)(ii) and Section 2.7, Sellers shall, and shall cause
               their respective Affiliates to, grant, sell, transfer, convey, assign
               and deliver to Buyers, and Buyers shall purchase and accept from
               Sellers or any of their respective Affiliates, all right, title, and
               interest of Sellers and their respective Affiliates, as of the Closing,
               in and to the following (collectively, the "Acquired Assets"):
            (a) the Transferred Shares, free and clear of all Liens.

     89.        Master Purchase Agreement Section 3.2(i), which is titled Transactions at

 Closing, provides that at the closing, the Allergan Entities were required to deliver to Buyer

 Parent (as defined in the Master Purchase Agreement) the share certificates of the Divested

 Entities. Specifically the contract compelled the Allergan Entities to:

                deliver to Buyer Parent share certificates representing the
                Transferred Shares (all of the outstanding capital stock of the
                Divested Entities) free and clear of all Liens which certificates
                shall be duly endorsed in blank or accompanied by duly executed
                stock powers, or, in those jurisdictions where applicable, notarized
                deeds of transfer reasonably acceptable to Buyer Parent.

     90.        Turning to the point that each of the Divested Entities was a separate legal entity,

 Section 4.1 of the Master Purchase Agreement provided that every one of the selling Allergan

 Entities and every one of the Divested Entities was a validly organized, distinct legal entity.

 Specifically, the Master Purchase Agreement represented and attested that the Divested Entities,

 and every entity selling these entities:
                                                  42
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 44 of 96. PageID #: 88126




                is a legal entity duly organized, validly existing and, where
                relevant, in good standing under the Laws of its respective
                jurisdiction of organization and has all requisite corporate or
                similar power and authority to own, lease and operate its properties
                and assets and to carry on its business as presently conducted and
                is qualified to do business and is in good standing as a foreign
                corporation or other entity in each jurisdiction where the
                ownership, leasing or operation of its assets or properties or
                conduct of its business requires such qualification, except where
                the failure to be so qualified or, where relevant, in good standing,
                or to have such power or authority, would not, individually or in
                the aggregate, reasonably be expected to have a Seller Material
                Adverse Effect.

     91.        Moreover, the Master Purchase Agreement makes it clear that the Allergan

 Entities were merely shareholders in the Divested Entities. Specifically, Section 4.6 (called

 Transferred Entities) provides that an Allergan Entity, which is defined as Allergan plc or one

 of its subsidiaries:

                (a) Beneficially owns one hundred percent (100%) of the
                outstanding Equity Participations of each Transferred (Divested)
                Entity. All of the Transferred Shares are validly issued, fully paid
                and non-assessable and free and clear of any and all Liens. Upon
                transfer of the Transferred Shares to Buyer Parent at the Closing,
                Buyer Parent (Teva) shall own all outstanding Equity
                Participations of each Transferred Entity.

     92.        Moreover, Section 4.6 of the Master Purchase Agreement further provides that

 “[e]ach Seller (Allergan) has the full right to sell, convey, transfer, assign and deliver the

 Transferred Shares owned by it to the applicable Buyer and, upon the Closing, such Buyer will

 have good and valid title to all such Transferred Shares.”

     93.        Further evidence of the fact that the Allergan Entities completely severed their

 relationship with the Divested Entities is found in the fact that all of the employees of the

 Divested Entities who had stock options in Allergan plc got stock options in Teva

 Pharmaceutical Industries Ltd. at a prescribed exchange ratio and were no longer shareholders

                                                  43
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 45 of 96. PageID #: 88127




 of Allergan plc. The treatment of stock awards for the employees of the Divested Entities was

 treated in Section 7.9 of the Master Purchase Agreement. Section 7.9 of the Master Purchase

 Agreement provided:

               Master Purchase Agreement Section 7.9 Treatment of Business
               Employee Equity Awards.

                  As of the Closing, without any action on the part of the holders
               thereof, each Seller Parent Option granted prior to the date of this
               Agreement … that is outstanding and unvested and held by a
               Business Employee immediately prior to the Closing shall be
               assumed by Buyer Parent and shall be converted into an option (a
               "Buyer Parent Option") to acquire (A) that number of shares of
               Buyer Parent Stock (rounded down to the nearest whole share)
               equal to the product obtained by multiplying (1) the number of
               shares of Seller Parent Stock subject to such Seller Parent Option
               immediately prior to the Closing by (2) the Exchange Ratio, (B) at
               an exercise price per shares of Buyer Parent Stock (rounded up to
               the nearest whole cent) equal to the quotient obtained by dividing
               (1) the exercise price per share of Seller Parent Stock of such
               Seller Parent Option by (2) the Exchange Ratio.

    94.        Particularly relevant to an economic analysis of piercing the corporate veil issues,

 I note that after the sale of the Divested Entities, none of these companies could hold themselves

 out as continuing to be owned by an Allergan Entity. As provided in Section 9.9 of the Master

 Purchase Agreement:

               Use of Name.

               None of the Transferred Group shall hold itself out as continuing
               to be owned by Allergan

    95.        Thus, in my opinion the Allergan Entities were not improperly or unusually

 involved directly or indirectly in the ownership, control, management or governance of any of

 the Divested Entities. They were merely shareholders in those entities, and even that

 relationship ended with the sale of the Divested Entities in 2016, as reflected in the Master

 Purchase Agreement.
                                                44
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 46 of 96. PageID #: 88128




     96.          In the Settlement Agreement and Mutual Releases, dated January 31, 2018 (the

 “Settlement Agreement”), 53 the parties subsequently affirmed the general rule that applied to the

 sale of the stock owned in the Divested Entities pursuant to the MPA—namely, that the

 Divested Entities retained all of their liabilities, including those associated with any opioid

 products they owned and continue to own. Specifically, the Settlement Agreement provided in

 relevant part (among other liability affirmations) that “Teva agrees, on behalf of itself and each

 of its successors-in-interest and assigns, that it shall assume, and shall be or become responsible

 for . . . any Liabilities or Losses arising from the Third Party Claims . . . based upon generic

 opioid drugs that are Products,” and “any Liabilities, Losses or Claims that are, directly or

 indirectly, jointly or severally, asserted against or imposed on Allergan [or] its respective

 Affiliates . . . to the extent such Liabilities, Losses or Claims are based on parent or control

 liability or a substantially similar theory in connection with any Proceeding involving (1) a

 member of the Transferred Group and (2) a Product or the Business.” 54

         VII.     Support for Opinion #5
     97.          The structure of the 2016 transactions shows that from an economic and corporate

 governance perspective, the 2016 sales transactions did not result in any harm or unfairness to

 tort claimants such as the plaintiffs.

     98.          In the 2016 transaction, the sale of the Allergan Entities’ shares in the Divested

 Entities resulted in the transfer of virtually all of the assets of these entities, as well as their




53
  ALLERGAN_MDL_01396687.
54
  Id. § 4. “Transferred Group,” has the meaning ascribed to it in the MPA, which “means, individually and
collectively, each of the Transferred Entities and each of their direct and indirect Subsidiaries,” MPA § 1.1, and
encompasses all of the Divested Entities.
                                                          45
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 47 of 96. PageID #: 88129




 intellectual property and human capital, including their R&D capabilities, product pipelines and

 portfolios, geographical footprints, operational networks and cultures. 55

     99.          As previously observed, Buyer paid $40.50 billion for the Divested Entities. This

 figure represents the best assessment of a sophisticated buyer in an arms-length, non-coerced

 transaction of the net value of the assets of the Divested Entities. This estimate unambiguously

 signals and implies that Buyer determined that the fair, going concern value of the assets of the

 Divested Entities was fully $40.5 billion greater than the combined tort and contract liabilities

 of these Entities.

     100.         Thus, the fact that Buyer was willing to pay $40.5 for the Divested Entities

 conveys significant information that is relevant to a piercing analysis. First, it indicates that the

 Divested Entities were not undercapitalized. The price paid by Teva represents the best

 estimate of the fair market value of the capital of the Divested Entities at the time of the

 transfers to Buyer in 2016.

     101.         As an economic matter, undercapitalization occurs when a company does not

 have sufficient resources to conduct its normal business operations. Undercapitalization is the

 result of the failure of a business to generate sufficient cash flow to pay creditors as the debts to

 such creditors come due, during a period when the business is unable to access the capital

 markets (debt markets, equity markets or other sources of funds). The inability of a company to

 pay extraordinary or unanticipated expenses is generally not attributable to undercapitalization.




55
  Teva Pharmaceuticals Press Release, “Teva Completes Acquisition of Actavis Generics,” August 2, 2016. As is
typical in Merger and Acquisition transactions, particular assets, defined in the Master Purchase Agreement as
“Excluded Assets,” such as rights to refunds of taxes related to the Transferred Assets for any Pre-Closing Tax
Period and cash, cash equivalents, bank deposits and marketable securities on hand and in transit of the Seller Parent
and its Affiliates (excluding the Transferred Group) at the time of the closing. See Master Purchase Agreement by
and Between Allergan PLC and Teva Pharmaceutical Industries Ltd., July 26, 2015, Section 2.2.
                                                         46
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 48 of 96. PageID #: 88130




    102.       From a financial perspective, capitalization (and, hence, undercapitalization)

 describes the relationship between a corporation’s assets and its liabilities. Substantial sums

 may be removed from a corporation as long as what remains is sufficient to allow the

 corporation to pay its debts. Piercing the corporate veil claims frequently are accompanied by

 accusations that the subsidiary companies have been “looted” or stripped of their assets.

 However, in this case there are no allegations that any of the Allergan Entities engaged in any

 looting or asset stripping and I have seen no evidence that any such conduct occurred here. The

 fact that the Divested Entities were able to pay their debts and meet their obligations for a

 lengthy period of time before and after their sale to Buyer indicates that the Divested Entities

 were not undercapitalized and that the control that the Allergan Entities had over the Divested

 Entities by virtue of its share ownership in those entities was not abused.

    103.       Moreover, with respect to capitalization, which is often a factor in piercing the

 corporate veil cases, I stress that the significant price paid by Buyer for the Divested Entities

 constitutes a market-based, arms-length evaluation by a highly sophisticated investor (Teva) of

 the capital of the Divested Entities. Simply put, if the Divested Entities were insolvent or

 undercapitalized, then it would have been irrational for Buyer to have purchased them.

    104.       Assuming that Buyer was behaving rationally, it would not have paid anything

 (much less some portion of $40.5 billion) for Divested Entities if it believed that these

 companies were undercapitalized.

    105.       Second, the $40.5 billion price paid by Buyer shows that the 2016 divestiture

 transactions were not unfair or disadvantageous from an economic perspective to the plaintiffs

 in this case. This opinion is a matter of basic corporate finance. The Divested Entities were

 sold in tact to Buyer. In the process of determining the value of and negotiating the price to pay

                                                 47
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 49 of 96. PageID #: 88131




 for the Divested Entities, Buyer necessarily had to calculate the value of all of the assets that

 were being conveyed along with the Divested Entities, and then to calculate and then subtract

 the value of all of the liabilities of the Divested Entities that simultaneously were being

 conveyed. Thus, Buyer determined, that, even in light of any and all anticipated tort liabilities

 to plaintiffs, the value of the entities conveyed to Buyer was $40.5 billion dollars greater than

 the value of its liabilities.

     106.        Similarly, one can only conclude that the plaintiffs were not harmed or treated

 unfairly as a result of the 2016 divestiture for the simple reason that this transaction did not in

 any way diminish the capitalization, the earnings power, the financial condition, or the ability of

 the Divested Entities to fund their liabilities to contract or tort creditors. This is because the

 divestiture transactions were effectuated by the sale of the stock owned in the Divested Entities.

 The balance sheet and the nature and quality of the assets of the Divested Entities was unaltered

 when the stock was transferred from the Allergan Entities to Buyer.

     107.        A simple example illustrates the point that tort and contract creditors of the

 Divested Entities were not harmed by the divestiture. Imagine that one of the entities being

 transferred had a simple balance sheet with $1 billion in assets and $450 million in liabilities.

 The capitalization of the entity is determined by subtracting the $450 million in liabilities from

 the $1 billion in assets, resulting in $550 million in capital. When the entity is transferred in an

 arms-length, non-coerced sale, a rational, willing buyer will pay, and a rational willing seller

 will accept $550 million for the company. The $550 million paid for the company is, of course,

 transferred at the shareholder level. Any and all assets and capital available to the divested

 entity to satisfy the claims of tort and contract creditors prior to the sale remain available to

 satisfy those claims after the sale.

                                                  48
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 50 of 96. PageID #: 88132




     108.        In fact, basic economics indicates that creditors, including the plaintiffs were

 actually made better off as a result of the sale of the Divested Entities by the Allergan Entities.

 This is because of the concept of “gains from trade.” In an open and fair contracting

 environment untainted by fraud, transactions such as the sale of the Divested Entities will only

 occur in situations in which the buyer imputes and assigns a monetary value to the entities it is

 buying that is greater than the value attributed to those assets by the seller (in this case the

 Allergan Entities). The fact that the buyer values the assets more than the seller generates what

 economists refer to as the gains from trade that make the purchase and sales process efficient in

 the sense that it is a “Pareto improvement” over the prior state of affairs. A Pareto improvement

 is a contract, transfer or other change in the current allocation of resources that makes at least

 one individual better off without making any other individual worse off. A contract is

 considered “Pareto Superior” when both parties to the contract are made better off. An

 economy has reached a state of “Pareto optimality” when contracting among fully informed

 parties will not make anyone better off. 56

     109.        Applying straightforward principles of economics to the sale by the Allergan

 Entities of the Divested Entities yields the conclusion that the divestiture transactions were

 Pareto improvements and were fair to Plaintiffs. This is because the entities that produced and

 marketed the products that allegedly harmed the plaintiffs were transferred to shareholders

 (Buyer) who valued them more highly than the prior shareholders.

     110.        The higher value that Buyer assigned to the Divested Entities was largely due to

 the fact that Buyer believed that it could achieve synergies by operating the Divested Entities




56
  John Black, Nigar Hashimzade, and Gareth Myles, A Dictionary of Economics (3d edition), (Oxford University
Press: 2009, Print ISBN-13: 9780199237043 Online Version: 2009, eISBN: 9780191726637).
                                                     49
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 51 of 96. PageID #: 88133




 side-by-side with its own, legacy businesses which would improve the value of these entities. 57

 As Teva observed at the time of the transaction:

                 We are confident that we can realize the projected synergies and
                 accretion inherent in this acquisition for our stockholders and
                 quickly integrate Actavis Generics into Teva. Furthermore, as a
                 result of our strengthened financial profile following this
                 transaction, we will be even better positioned to reap the benefits
                 of Teva’s R&D capabilities to support top-line growth and expand
                 our portfolio across the business. The strong, combined company
                 cash flow will allow for rapid deleveraging and give us the ability
                 to continue capital allocation, with a focus on bolstering our
                 specialty pipeline and product portfolio as well as strengthening
                 shareholder returns. 58

     111.        The significant sales price for the Divested Entities reflects the value of the

 Divested Entities net of any anticipated tort liability to plaintiffs in the national prescription

 opioid litigation and similar cases. As a matter of basic corporate finance, it makes no sense to

 suggest that it was “unfair” to Plaintiffs for the Allergan Entities to have sold their equity

 interests in the Divested Entities without sharing the proceeds of these sales with Plaintiffs.

 This is because the Plaintiffs had no legitimate financial claim on the shares of stock, which

 were not corporate assets, and because the sale of these shares did not in any way diminish or

 affect the value of the assets held by the Divested Entities, these assets remained available to

 satisfy any potential legal claims on such assets.

     112.        Further, the sales of the Divested Entities did not have any effect whatsoever on

 the amount of cash or other assets available to the Divested Entities to satisfy the tort claims of

 Plaintiffs because the sales of the Divested Entities involved only the sale of the stock of those




57 Erez Vigodman, President and CEO, Teva Pharmaceuticals, Inc., quoted in Teva Pharmaceutical Industries Ltd.
Press Release, Teva Completes Acquisition of Actavis Generics, August 2, 2016,
https://www.businesswire.com/news/home/20160802006666/en/ (accessed May 1, 2019).
58
   Id.
                                                      50
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 52 of 96. PageID #: 88134




 assets by the Allergan Entities. The Divested Entities retained all of their assets. 59 All of those

 assets were transferred right along with the Divested Entities. As such, there was no harm

 whatsoever to Plaintiffs from the transfer of the Divested Entities to Buyer.

     113.         Further, as is frequently the case in corporate takeovers, Buyer, as the acquirer of

 the Divested Entities entered into financing arrangements to fund the transaction and took on

 significant leverage in order to do so. This additional debt is relevant to my analysis of the

 transactions in 2016 for two reasons.




59
   The assets of the Allergan entities that were transferred to Buyer’s control in 2016 included:
 (i) all Products;
(ii) all Inventory;
(iii) the Transferred Receivables;
(iv) the Transferred Owned Real Property and the Transferred Leased Real Property;
(v) all of the rights to the fixed and other tangible personal property and equipment, including materials,
prototypes, tools, supplies, vehicles, furniture, fixtures, improvements to the property and other tangible assets;
(vi) all IT Assets Related to the Business;
(vii) the patents and patent applications owned by Sellers or their Controlled Affiliates which are Related to the
Business;
(viii) the Transferred Entities’ Business Contracts, and all rights, benefits and interests thereunder;
(ix) Permits, Regulatory Registrations, and the original documents under the possession of Sellers and their
Controlled Affiliates evidencing the Regulatory Registrations issued to and held by Sellers and their Controlled
Affiliates by the Regulatory Authorities and all related Regulatory Documentation;
(x) copies of the design history files with respect to the Products;
(xi) the Manufacturing Instructions and Technical Information;
(xii) all Books and Records;
(xiii) each human clinical trial study report, if any, conducted or sponsored by Seller or any Affiliate of Seller or
submitted by Seller or any Affiliate of Seller to the FDA or similar Regulatory Authority with respect to the
Products;
(xiv) product Labeling, product advertising, marketing and promotional materials, sales training materials and
all other materials Related to the Business;
(xv) all Claims (including under any express or implied warranties, guarantees or indemnities), causes of action,
choses in action, rights of recovery and rights of set-off of any kind to the extent arising from the Business or related
to any Acquired Asset or Assumed Liability;
(xvi) any Insurance Proceeds;
(xvii) Cash, to the extent included in the calculation of Closing Net Cash;
(xviii) all assets related to the Transferred Entity Benefit Plans;
(xix) all goodwill of the Business as a going concern;
(xx) the Current Assets at Closing … ;
and
(xxi) any other asset, property or right of Sellers and their respective Controlled Affiliates Related to the
Business, whether tangible or intangible, real, personal or mixed… . Teva Master Purchase Agreement, supra, at
Section 2.1 Agreement to Purchase and Sell.
                                                           51
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 53 of 96. PageID #: 88135




       114.        First, the willingness of Buyer to assume such debt is a strong indication of

 Buyer’s confidence and optimism about the business prospects of the Divested Entities.

       115.        Second, the banks and other companies financing the acquisition of the Divested

 Entities would have performed due diligence on the Divested Entities before extending credit.

 This further reinforces my opinions that the transaction was not a sham or a fraud and that the

 Divested Entities were reasonably and legitimately viewed as valued assets with the capability

 to generate the income required to meet all of their tort and contractual obligations.

          VIII.    Support for Opinion #6
       116.        This opinion relates to the corporate governance and corporate control of the

 Divested Entities in the period following the sale. After the sales by the Allergan Entities of all

 of their stock in the Divested Entities, the Allergan Entities completely severed their corporate

 governance ties with the Divested Entities. After the sale, the Allergan Entities lacked even the

 capacity to control the Divested Entities.

       117.        Because all of the stock of the Divested Entities was acquired by Buyer, each of

 these Entities became a wholly owned subsidiary of Buyer or one of their affiliates. 60 And, just

 as the Divested Entities were separate corporations before they were sold, so too are they

 separate corporations after the sale. As separate corporations, their assets and liabilities

 partitioned off from the assets and liabilities of the Allergan Entities before the sale, during the

 sale, and after the sale to Buyer.

       118.        Thus, it is my opinion that prior to the sale to Buyer, the Allergan Entities had the

 capacity to control the Divested Entities, but they did not abuse that control in any way that

 would justify piercing the corporate veil from a public policy perspective because the Allergan



60
     See Footnote 2.
                                                    52
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 54 of 96. PageID #: 88136




 Entities did not abuse that power or utilize it in a way that was inconsistent with ordinary and

 customary behavior by parent companies.

    119.       After the sale to Buyer, the Allergan Entities had no ties with Divested entities

 whatsoever. In fact, all of the corporate directors and officers of the Divested Entities resigned

 and were replaced by new nominees. As provided in Section 9.10 of the Master Purchase

 Agreement Section, the Allergan Entities used ordinary voting rights as a 100% shareholder in

 the Divested Entities to “cause each entity in the (Divested Entities) to hold such corporate or

 other meetings as are necessary pursuant to applicable Laws to discharge the members of each

 board of directors or equivalent governing body of such entity with effect as of the Closing.”

    120.       With regard to the notion that the corporate veil of the Divested Entities might be

 pierced and liability imposed on any of the Allergan Entities for liabilities that arose after

 October, 2016, I am not aware of a case in history where liability has been imposed on a

 piercing the corporate veil theory or an agency theory or any related theory against an entity that

 owns zero shares and has no representatives on the board of directors of the company whose

 veil is subject to piercing. In fact, there is no basis in corporate governance theory for

 concluding that the Allergan Entities had any corporate governance relationship whatsoever

 with the Divested Entities after their sale of those entities to Buyer in 2016.

    121.       Similarly, with regard to the notion that the corporate veil of the Divested Entities

 might be pierced and liability imposed on any of the Allergan Entities for liabilities that arose

 after the sale to Buyer, I am not aware of any case in history where liability has been imposed

 on a piercing the corporate veil theory or an agency theory or any related theory against an

 entity that is a mere passive, minority shareholder in a publicly held corporation. I note that

 after the October 2016 transactions, no Allergan Entity had any directors, officers or other

                                                 53
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 55 of 96. PageID #: 88137




 employees on the board of Teva Pharmaceutical Industries Ltd. or on the board of any of the

 Divested Entities. There is no basis in economics, public policy or basic logic to conclude that

 the corporate veil of a Buyer-owned entity should be pierced to impose liability on an Allergan

 Entity merely because that entity owned (but no longer owns) a minority interest in Teva

 Pharmaceutical Industries Ltd., which, in turn, indirectly owned 100% of the shares of the

 Divested Entities. 61

        IX.      Support for Opinion #7

     122.        This opinion relates to what I understand is a claim by Plaintiffs that somehow the

 Allergan Entities should be responsible for the tort liabilities from pre-2009 activities of

 unrelated corporations. This claim apparently is based on the notion that liability emanates from

 the December 30, 2008 purchase of Kadian® from King Pharmaceuticals, Inc. 62

     123.        However no liability resulted from this transaction because it was a simple sale of

 assets from one corporate entity to another and the contract related thereto expressly stated that

 the acquiring entity was not assuming liabilities with pre-sale marketing, promotion, or sale of

 Kadian. 63 Specifically, the contract provided, “Buyer agrees to assume, satisfy, perform, pay




61
   See TEVA MDL JD 000059.
62
   United States Securities and Exchange Commission Form 8-K for King Pharmaceuticals, Inc. (date of Report
(date of earliest event reported): January 5, 2009 (December 29, 2008)).
63
   See Asset Purchase Agreement Between King Pharmaceuticals, Inc. and Actavis Elizabeth, L.L.C., December 17,
2008 (Allergan_MDL_00378157) (“APA”) §§ 3.01-3.02. The sale of assets by King Pharmaceuticals, Inc. to
Actavis Elizabeth LLC came about in connection with an entirely separate transaction. This separate transaction
was the acquisition for $1.6 billion by King Pharmaceuticals, Inc. of rival drug-maker Alpharma Inc. To settle
charges that King’s acquisition of Alpharma would be anticompetitive and would violate federal law, in a settlement
with the U.S. Federal Trade Commission, King agreed to divest the rights to Alpharma’s branded oral long-acting
opioid (LAO) analgesic drug Kadian to Actavis Elizabeth LLC in order to “restore the competition between Kadian
and King’s LAO Avinza that would be lost as a result of the acquisition.” See Federal Trade Commission, “FTC
Intervenes in King Pharmaceuticals Acquisition of Rival Alpharma Inc.” December 29, 2008 Press Release.
https://www.ftc.gov/news-events/press-releases/2008/12/ftc-intervenes-king-pharmaceuticals-acquisition-rival-
alpharma (accessed May 7, 2019).
                                                        54
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 56 of 96. PageID #: 88138




 and discharge only the Assumed Liabilities,” 64 and “Seller shall retain and remain solely

 responsible for, and shall satisfy, perform, pay and discharge when due, any and all Excluded

 Liabilities,” 65 which include “any and all Liabilities of Seller accruing or arising prior to the

 Closing, including Liabilities with respect to any claim or action asserted after the Closing to

 the extent the conduct giving rise to such claim or action occurred prior to the Closing.” 66

     124.         When purchasers buy assets, unless the parties agree otherwise, the liabilities

 remain with the selling entity. This principle is so well-established in the corporate world that

 the U.S. Supreme Court declared over 130 years ago that “[t]his doctrine is so familiar that it is

 surprising that any other can be supposed to exist.” 67 The doctrine even applies in transactions

 in which the buyer purchases 100% of the assets of the seller. 68

     125.         The assets acquired from King Pharmaceuticals, Inc., consisted of all of the

 intellectual property and regulatory approvals, inventory, books and records, marketing

 materials and assumed contracts that were related to Kadian®. 69 As noted above, in exchange

 for these assets King Pharmaceuticals, Inc. received up to $127.5 million in cash based on the

 achievement of certain Kadian® quarterly gross profit related milestones for the period

 beginning January 1, 2009 and ending June 30, 2010 as follows: 70


             Quarter                             Maximum Purchase Price Payment
             First Quarter 2009                  $30 million


64
   Asset Purchase Agreement Between King Pharmaceuticals, Inc. and Actavis Elizabeth, L.L.C., December 17,
2008 (Allergan_MDL_00378157) (“APA”) §§ 3.01-3.02..
65
   APA § 3.02.
66
   APA § 1.01(kk).
67
   Fogg v. Blair, 133 U.S. 534, 538 (1890); see 15 WILLIAM MEADE FLETCHER ET AL., FLETCHER
CYCLOPEDIA OF THE LAW OF CORPORATIONS § 7122 (perm. ed., rev. vol. 2008) (“The general rule, which
is well settled, is that where one company sells or otherwise transfers all its assets to another company, the latter is
not liable for the debts and liabilities of the transferor.”).
68
   Id.
69
   United States Securities and Exchange Commission Form 8-K for King Pharmaceuticals, Inc., supra.
70
   Id.
                                                           55
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 57 of 96. PageID #: 88139




             Second Quarter 2009          $25 million
             Third Quarter 2009           $25 million
             Fourth Quarter 2009          $20 million
             First Quarter 2010           $20 million
             Second Quarter 2010          $7.5 million

     126.        For very sound reasons of economics and finance, it is well understood that the

 sale of assets from one corporation to another does not result in tort liability for the company

 that purchases the assets for the contract or tort liabilities of the company that sells the assets,

 absent an explicit agreement of the transacting parties to the contrary.

     127.        Moreover, from a public policy perspective, good-faith, arms-length asset sales at

 fair value between sophisticated parties should be encouraged as long as the assets are sold for

 fair value. Here I am not aware of any allegations that the $127.5 million contingent sales price

 was coerced, or was not consummated at arms-length. Furthermore, the of Kadian asset

 purchase agreement was silent as to the transfer of any pre-sale liability connected to Kadian,

 reinforcing the general rule discussed above that the liabilities remain with the selling entity in

 an asset sale unless the parties agree otherwise. This stands in stark contrast to the Allergan

 Entities’ sale of the generics business to Buyer, where the parties subsequently affirmed the

 general rule that applied to that sale of the stock owned in the Divested Entities—that the

 Divested Entities (and, as a financial matter, Teva, as the new 100% owner) retained all of their

 liabilities, including those associated with any opioid products they owned and continue to own.

        X.       Conclusion

     128.        Economic activity, particularly investment, would diminish considerably without

 limited liability. Limited liability, including limited liability for investments made in the

 context of corporate groups and parent-subsidiary relationships encourages investment,

 promotes the economic efficient operation of separately incorporated businesses and allows

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Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 58 of 96. PageID #: 88140




 investors to form, invest in and manage multiple businesses. In order to achieve the economic

 benefits of the corporate form, the liability of investors, including parent corporations must be

 limited to the amount of their capital investments. These economic considerations indicate that

 the goal of economic efficiency is furthered by rarely piercing the corporate veil. The economic

 justification for piecing the corporate veil is to protect creditors.

     129.       As discussed in this Report, the control exerted by the Allergan Entities was not

 aberrational as a matter of ordinary and customary corporate practice. The relationships among

 the Divested Entities and the Allergan Entities were typical of the relationships between

 investors, parent companies and subsidiaries in the corporate world. By definition, parent

 companies always control their subsidiaries simply by virtue of the fact that they own or control

 shares representing more than 50 percent of the voting rights in another company. Without such

 ownership or control they would not be parent companies in the first place. As a matter of

 ordinary and customary corporate practice, those who own a controlling interest (more than 50

 percent of the voting shares) in a corporation inevitably exert significant actual control over the

 operations of that corporation. As an economic matter, the exercise of such control is necessary

 in order for the controlling shareholder to protect its investment. In other words, it is ordinary

 and customary for investors, including holding companies and other parent companies to

 interact and to exert investment control over the companies in which they have invested.

 Similarly, it is ordinary and customary in business for investors who own a controlling block of

 stock in a corporation to be heavily involved in the governance, strategy, investments, and

 operations of the businesses in which they have invested.

     130.       The Divested Entities were substantial companies with their own corporate

 governance infrastructures. They operated in a manner that was separate and distinct from the

                                                   57
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 59 of 96. PageID #: 88141




 operations of the Allergan Entities, and enjoyed significant independence that was well within

 the normal range for wholly-owned subsidiaries.

    131.        I have examined the governance and operations of the Divested Entities and there

 is nothing in the record or in external documents I have discovered through my own research

 that provides any support for the proposition that these entities did not act appropriately and

 consistently with their status as separate juridical entities that maintained their own assets and

 liabilities before and during the sale to Buyer, and whose corporate forms should be respected.

    132.        As noted above in paragraph 11, claims by Plaintiffs that the corporate form of

 any of the defendants should be ignored are not supported by any factual allegations that

 provide for this contention. In particular the Third Amended Complaint does not contain any

 specific allegations or examples of the improper use of control or voting power,

 undercapitalization of the subsidiary or affiliate, failure to observe corporate formalities, failure

 to maintain proper books and records, failure to pay incorporation or franchise taxes, and/or

 failure to maintain the separate corporate identities of the companies. In my experience,

 piercing claims are supported by specific factual allegations that support general claims that a

 subsidiary or other corporate affiliate is a mere instrumentality of the parent corporation.

    133.        From a policy perspective, I believe that piercing the corporate veil requires a

 demonstration that the entity whose corporate separateness is being attacked was organized or

 used by its parent to mislead creditors or to perpetrate a fraud on such creditors. From a

 corporate governance perspective, it is telling that there are no allegations of improper

 formation or utilization of the corporate form, and no evidence of improper formation or

 utilization of the corporate form, in this case.




                                                    58
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 60 of 96. PageID #: 88142




Dated and Signed: May 10, 2019


                                     Jonathan R. Macey




                                      59
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 61 of 96. PageID #: 88143




                   EXHIBIT 1
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 62 of 96. PageID #: 88144




                                    JONATHAN R. MACEY
                                    CURRICULUM VITAE



Name:         Jonathan R. Macey

Address:      Yale Law School
              127 Wall Street                        P.O. Box 208215
              New Haven, CT 06511                    New Haven, CT 06520-8215
              (courier)                              (post)

Telephone:     (203) 432-7913                        Fax: (203) 432-4871

e-mail:       jonathan.macey@yale.edu

Education:    J.D. Yale Law School; Article and Book Review Editor, Yale Law Journal, 1982;
              A.B., cum laude (economics), Harvard College, 1977.

Current Positions:

                        Sam Harris Professor of Corporate Law, Finance, and Securities
                         Regulation, Yale University
                        Professor, Yale School of Management
                        Chair, Yale University Advisory Committee on Investor Responsibility
                         (ACIR)
                        Chair, Yale Faculty Committee on Athletics
                        Executive Committee, Yale Law School Center for the Study of Corporate
                         Law
                        Economics Advisory Board, Financial Industry Regulatory Authority,
                         (FINRA)
                        Member, European Corporate Governance Institute (ECGI)

Subjects:     Business Organizations (Corporations and Other Business Associations);
              Corporate Finance; Corporate Governance; Banking and Financial Institutions
              Regulation; the Economics of Regulation.

Other:        Ph.D. (Law) honoris causa Stockholm School of Economics, 1996;

              D.P. Jacobs prize for the most significant paper in volume 6 of the Journal of
              Financial Intermediation for “The Law & Economics of Best Execution” (co-
              authored with Maureen O’Hara) (1997);


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Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 63 of 96. PageID #: 88145




            Paul M. Bator Award for Excellence in Teaching, Scholarship and Public Service
            awarded by the University of Chicago Law School Chapter of the Federalist
            Society, 1995;

            Bipartisan Policy Center (BPC) Financial Regulatory Reform Initiative’s Working
            Group on Capital Markets

            Fellow, Columbia Law School and Columbia Business School, Program in the
            Law & Economics of Capital Markets

            Founding Member, CCH/Aspen Wolters Kluwer Law & Business, Banking and
            Securities Editorial Board

Books:

            “Cases and Materials on Corporations Including Partnerships and Limited
            Liability Companies,” (Thomson*West, Thirteenth Edition 2017) (with Robert
            Hamilton and Douglas Moll).

            "The Law of Banking and Financial Institutions,” (Aspen Law &Business, sixth
            edition, 2017) (with Richard Cornell and Geoffrey P. Miller)

            “Macey on Corporation Laws” (2 volume treatise), originally published in 1998,
            updated annually, Wolters Kluwer Law & Business, 2017 (updated annually)

            “The Death of Corporate Reputation: How Integrity Has Been Destroyed on Wall
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            “Classics in Corporate Law and Economics,” Jonathan Macey, editor, (Edward
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Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 76 of 96. PageID #: 88158




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                                                                                            18
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 80 of 96. PageID #: 88162




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            "Porkbarrel Banking" The Wall Street Journal, Monday, July 19, 1993;

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               "Introduction" to Volume V (1989) of the Banking Law Anthology;

               Remarks at Symposium on the First Amendment and Federal Securities
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               Remarks at Colloquium on the ALI Corporate Governance Project, 71 Cornell
               Law Review. (assorted pages) (1986);

               "A Conduct Oriented Approach to the Glass-Steagall Act" 91 Yale Law Journal
               102 (1981) (published as a student).

Recent Testimony

“Measuring the Systemic Importance of U.S. Bank Holding Companies,” Senate Banking
Committee Hearing, July 23, 2015

Current Activities:

               Member, American Law Institute;

               Editorial Board, Journal of Accounting, Finance and Law

               Academic Advisory Board Committee, the Banking Law Anthology;

               Academic Advisory Board, The Social Philosophy and Policy Center;



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Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 86 of 96. PageID #: 88168




             Board of Editors, Journal of Banking and Finance;

             Board of Editors, Journal of Banking Law;

             Board of Editors, Journal of Financial Crime;

             Board of Editors, Corporate Practice Commentator;

             Guest Contributor, Harvard Corporate Governance Blog

Employment History:

             Sam Harris Professor of Corporate Law, Securities Law and Corporate Finance,
             Yale University, 2004 – present;

             Visiting Professor, Bocconi University, Milan, Italy, fall 2012;

             Visiting Professor of Law, Yale University, 2003-2004;

             J. DuPratt White Professor of Law, Cornell Law School, 1991-2004;

             Visiting Professor of Law, Harvard Law School, 1998-1999

             Visiting Professor, Faculty of Law, Stockholm School of Economics, fall, 1993;

             Research Fellow, International Centre for Economic Research, Turin Italy, winter,
             1993, spring, 1994;

             Professor of Law (with tenure), University of Chicago, 1990-1991;

             Professor of Law, (with tenure), Cornell University, 1987-1990;

             Visiting Professor of Law, The University of Chicago, fall quarter, 1989-1990;

             Visiting Professor, University of Tokyo Faculty of Law, summer, 1989;

             Visiting Associate Professor of Law, University of Virginia, 1986-1987;

             Assistant to Associate Professor of Law, Emory University, 1983-1986;

             Law Clerk to the Honorable Henry J. Friendly, United States Court of Appeals,
             Second Circuit, 1982-1983 term of court;

             Consultant, Municipal Finance Department, Lloyd Bush & Associates, New
             York, NY (consultant representing municipalities and investment banks before
             credit rating agencies (1978-1979));


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Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 87 of 96. PageID #: 88169




            Municipal Bond Trader, Bankers Trust Company, New York, NY (1977-1978);

            Member, Board of Directors, Telxon Corporation, 1998- 1999 (appointed as
            dissident director in settlement of proxy contest dispute); Member, Board of
            Directors, WCI Communities, Inc., 2007 – 2009; Alternative Director nominee
            for Illumina, Inc., 2012, Hess Corporation; 2015; Director nominee Rexene
            Corporation, 1999, Circon Corporation, 1998, Arvin Meritor, Inc. 2004, Wynn
            Resorts, Ltd. 2012, Family Dollar Stores, 2014 (among others).

            Current consulting rate: $1250.00 per hour.




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Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 88 of 96. PageID #: 88170




                   EXHIBIT 2




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                                      Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 89 of 96. PageID #: 88171




Jonathan Macey -- Prior Expert Testimony as of May 10, 2019

                     Year         Case Name                              Court                                            Testimony Given
                     2014         Edgar Bachrach v. Bachrach Clothing    Circuit Court Of Cook County, Illinois           Expert Report served as
                                  Holding Corp.                          County Department, Law Division                  direct testimony; Cross
                                                                                                                          Examination and Re-
                                                                                                                          direct examination before
                                                                                                                          Court Reporter.
                     2014         Heidi Stanley v. Sterling Financial    Superior Court, State of Washington, County of   Deposition Testimony/
                                  Corp.                                  Spokane                                          Trial Testimony (jury
                                                                                                                          trial)
                     2014         Florida Power Corporation v. First     United States District Court for the Northern    Deposition Testimony
                                  Energy                                 District of Ohio, Eastern Division

                     2015         New York v. Maurice Greenberg          Supreme Court of the State of New York, County   Deposition Testimony
                                                                         of New York
                     2015         State of Connecticut v. The McGraw     Superior Court, Judicial District of             Deposition Testimony
                                  Hill Companies, and Standard &         Hartford, Hartford, CT
                                  Poor’s
                     2015         George L. Miller, Chapter 7 Trustee,   United States Bankruptcy Court, District of      Deposition Testimony
                                  v. Kirkland & Ellis                    Delaware
                     2015         In the Matter of Office of the         U.S. Department of the Treasury, Office of the   Deposition Testimony
                                  Comptroller of the Currency v. James   Comptroller of the Currency
                                  E. Plack
                     2015         Paolo Moreno v. SFX Entertainment,     United States District Court for the Central     Deposition Testimony
                                  Inc.                                   District of California, Western Division
                     2015         Future Select v. Tremont Group         Superior Court for the State of Washington for   Deposition Testimony
                                  Holdings                               King County
                     2015         Panattoni Development Company, Inc.    Supreme Court of the State of New York, County   Deposition Testimony
                                  v. Scout Funds 1-A, LP and 1-C, LP     of New York


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          Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 90 of 96. PageID #: 88172



2016   CaremarkPCS Health, L.L.C. v.            American Arbitration Association, Phoenix, AZ      AAA Arbitration Hearing
       Walgreen Co.                                                                                Testimony
2017   Robinson Mechanical Contractors, Inc.    United States District Court for the Eastern       Deposition Testimony
       v. PTC Group Holdings Corp.              District of Missouri, Southeastern Division
2018   United States of America v. AT&T         United States District Court for the District of   Deposition Testimony
       Inc., DirecTV Group Holdings, LLC,       Columbia
       and Time Warner, Inc.
2018    Blueblade Capital Opportunities LLC,    Court of Chancery of the State of Delaware         Deposition Testimony
       and Blueblade Capital Opportunities II
       LLC




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Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 91 of 96. PageID #: 88173




                   EXHIBIT 3
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 92 of 96. PageID #: 88174




I. Case Materials

       A. Complaints

       County of Cuyahoga, Ohio, et al v. Purdue Pharma L.P., et al, Case No. 17-md-2804,
       Second Amended Corrected Complaint (May 30, 2018).

       County of Summit, Ohio, et al v. Purdue Pharma L.P., et al, Case No. 17-md-2804,
       Third Amended Complaint (March 21, 2019).

       B. Memorandum Opinion and Orders

       City of Chicago, v. Purdue Pharma L.P., et al, Case No. 1:14-cv-04361, Memorandum
       Opinion and Order (May 8, 2015).

       City of Chicago, v. Purdue Pharma L.P., et al, Case No. 1:14-cv-04361, Memorandum
       Opinion and Order (September 29, 2016).

       C. Declarations in Support

       City of Chicago, v. Purdue Pharma L.P., et al, Case No. 1:14-cv-04361, First Declaration
       of Sheldon V. Hirt in Support of Actavis Defendants’ Motion to Dismiss Plaintiff’s First
       Amended Complaint (November 20, 2015).

       City of Chicago, v. Purdue Pharma L.P., et al, Case No. 1:14-cv-04361,Second
       Declaration of Sheldon V. Hirt in Support of Actavis Defendants’ Motion to Dismiss
       Plaintiff’s First Amended Complaint (November 20, 2015).

       D. Depositions and Exhibits

       Stephan Kaufhold, October 26, 2018

II. Other Materials Considered

1. Actavis, Inc. Form 8-K, Current Report Pursuant to Section 13 or 15(d) of the Securities
   Exchange Act of 1934 (May 19, 2013).

2. Allergan, Inc. Form 10-K, Annual Report Pursuant to Section 13 or 15(d) of the Securities
   Exchange Act of 1934 for the fiscal year ended December 31, 2014.

3. Allergan plc. Form 10-K, Annual Report Pursuant to Section 13 or 15(d) of the Securities
   Exchange Act of 1934 for the fiscal year ended December 31, 2016.

4. Allergan plc. Press Release, “Actavis Completes Allergan Acquisition” (March 17, 2015).

5. Allergan plc. Press Release, “Allergan plc Completes Divestiture of Global Generics
   Business to Teva Pharmaceuticals” (August 2, 2016).
Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 93 of 96. PageID #: 88175




6. Allergan plc, Warner Chilcott Limited. Form 10-K, Actavis, Inc. Form 8-K, Annual Report
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Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 94 of 96. PageID #: 88176




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ALLERGAN_MDL_01098786                           ALLERGAN_MDL_02177059

ALLERGAN_MDL_01373731                           ALLERGAN_MDL_02758853

ALLERGAN_MDL_01384578                           ALLERGAN_MDL_02761472

ALLERGAN_MDL_01396687                           ALLERGAN_MDL_02931208

ALLERGAN_MDL_01471538                           ALLERGAN_MDL_03295845

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Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 95 of 96. PageID #: 88177




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ALLERGAN_MDL_03367007                   ALLERGAN_MDL_04449174

ALLERGAN_MDL_03367292                   ALLERGAN_MDL_04449203

ALLERGAN_MDL_03367293                   ALLERGAN_MDL_04449215

ALLERGAN_MDL_03367294                   ALLERGAN_MDL_04449248

                                        ALLERGAN_MDL_04449288
ALLERGAN_MDL_03367295
                                        ALLERGAN_MDL_04449300
ALLERGAN_MDL_03367301
                                        ALLERGAN_MDL_04449338
ALLERGAN_MDL_03367302
                                        ALLERGAN_MDL_04449350
ALLERGAN_MDL_03367304
                                        ALLERGAN_MDL_04449373
ALLERGAN_MDL_03367307
                                        ALLERGAN_MDL_04449376
ALLERGAN_MDL_03367308
                                        ALLERGAN_MDL_04449395
ALLERGAN_MDL_03367310
                                        ALLERGAN_MDL_04449427
ALLERGAN_MDL_03367312
                                        ALLERGAN_MDL_04449430
ALLERGAN_MDL_03367314
                                        ALLERGAN_MDL_04449434
ALLERGAN_MDL_03367316
                                        ALLERGAN_MDL_04449453
ALLERGAN_MDL_03367318                   ALLERGAN_MDL_04449455
ALLERGAN_MDL_03367320                   ALLERGAN_MDL_04449480

ALLERGAN_MDL_03367322                   ALLERGAN_MDL_04449481

ALLERGAN_MDL_03367324                   ALLERGAN_MDL_04449487

ALLERGAN_MDL_03367326                   ALLERGAN_MDL_04449490

ALLERGAN_MDL_03367327                   ALLERGAN_MDL_04449494

                                        ALLERGAN_MDL_04449509
ALLERGAN_MDL_03367328
                                        ALLERGAN_MDL_04449524
ALLERGAN_MDL_03367329

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Case: 1:17-md-02804-DAP Doc #: 1909-17 Filed: 07/19/19 96 of 96. PageID #: 88178




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ALLERGAN_MDL_04449537                   ALLERGAN_MDL_04449795

ALLERGAN_MDL_04449596                   ALLERGAN_MDL_04449796

ALLERGAN_MDL_04449635                   ALLERGAN_MDL_04449797

ALLERGAN_MDL_04449646                   ALLERGAN_MDL_04449798

ALLERGAN_MDL_04449679                   ALLERGAN_MDL_04449799

ALLERGAN_MDL_04449682                   ALLERGAN_MDL_04449800

ALLERGAN_MDL_04449759                   ALLERGAN_MDL_04449806

ALLERGAN_MDL_04449773                   ALLERGAN_MDL_04449807

ALLERGAN_MDL_04449777                   ALLERGAN_MDL_04449808

ALLERGAN_MDL_04449779                   ALLERGAN_MDL_04449810

ALLERGAN_MDL_04449782                   ALLERGAN_MDL_04449811

ALLERGAN_MDL_04449783                   ALLERGAN_MDL_04449812

ALLERGAN_MDL_04449784                   ALLERGAN_MDL_04449813

ALLERGAN_MDL_04449785                   ALLERGAN_MDL_04449815

ALLERGAN_MDL_04449787                   ALLERGAN_MDL_04449876

ALLERGAN_MDL_04449789                   ALLERGAN_MDL_04449927

ALLERGAN_MDL_04449790                   ALLERGAN_MDL_04449968

ALLERGAN_MDL_04449791                   ALLERGAN_MDL_04450008

ALLERGAN_MDL_SUPP_00000174                 TEVA_MDL_JD_000059

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